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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    E & J GALLO WINERY,                                   CASE NO. CV-F-03-5412 AWI LJO
12                          Plaintiff,                      ORDER ON PLAINTIFF’S SANCTIONS
                                                            MOTION REGARDING THIRD-PARTY
13           vs.                                            WITNESS
                                                            (Doc. 383, 468.)
14
      ENCANA ENERGY SERVICES,
15    INC., et al.,
16                          Defendants.
                                                  /
17
18                                            INTRODUCTION
19           In this action alleging natural gas price fixing, plaintiff E. & J. Gallo Winery (“Gallo”) seeks
20    imposition of severe sanctions against defendants Encana Corporation (“Encana Corp.”) and WD
21    Energy Services, Inc. (“WD Energy”) and their counsel for taking action which Gallo claims resulted
22    in cancellation of a third-party witness deposition set by Gallo. Encana Corp. and WD Energy
23    (collectively “defendants”) claim that Gallo failed to properly notice the deposition and that their
24    counsel did not cancel the deposition. Gallo and defendants seek to impose heavy monetary sanctions
25    on the opposing side to address Gallo’s sanctions claims.
26           This Court vacated the March 18, 2005 hearing on Gallo’s sanctions motion and conducted
27    March 30, 2005, April 13, 2005 and May 17, 2005 evidentiary hearings to address the parties’
28    accusations. Gallo appeared by counsel Frank M. Pitre and Steven N. Williams, Cotchett, Pitre, Simon

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 1    & McCarthy and D. Greg Durbin, McCormick, Barstow, Sheppard, Wayte & Carruth LLP. Defendants
 2    appeared by counsel Richard P. Levy, David M. Battaglia, Rory Hernandez, and Eric Maier, Gibson,
 3    Dunn & Crutcher LLP, William C. Hahesy, Jr., Sagaser, Franson & Jones, and Duane Lyons, Quinn,
 4    Emanuel, Urquhart, Oliver & Hedges, LLP. Gibson, Dunn & Crutcher LLP appeared by counsel
 5    Stephen R. Cornwell, Cornwell & Sample.
 6               Following the evidentiary hearings, the parties submitted further briefs, which this Court has
 7    considered. For the reasons discussed below, this Court imposes a $102,078.97 sanction against
 8    Gibson, Dunn & Crutcher with $92,078.97 payable to Gallo and $10,000 payable to this Court.
 9                                                    BACKGROUND
10                                                      Gallo’s Claims
11               Gallo and Gallo Glass Company produce wine and wine bottles using natural gas. Gallo is one
12    of California’s largest consumers of natural gas used to operate its furnaces. Encana Corp., a Canadian
13    company, is North America’s largest independent natural gas producer and seller and does business
14    in California through its subsidiaries. Encana Energy Services, Inc. (“EES”) was Encana Corp.’s
15    indirect subsidiary and sales and marketing arm in the United States. Encana Corp. used EES to trade,
16    hedge and speculate in natural gas, natural gas transportation contracts and natural gas market-based
17    derivatives. EES changed its name to WD Energy Services Inc.1 in early 2003.
18               During April 2001 to June 2003, EES was Gallo’s sole marketer.2 Gallo claims that when EES
19    “ostensibly” worked with Gallo, EES conspired with natural gas marketers to artificially inflate natural
20    gas prices and related commodities contracts.
21               On April 9, 2003, Gallo filed this action to pursue against defendants price fixing claims under
22    the Sherman Act, 15 U.S.C. § 1, and the Cartwright Act, Cal. Bus. & Prof. Code, §§ 16700, et seq.,
23    and claims for unfair business practices (Cal. Bus. & Prof. Code, §§ 17200 et seq.), and unjust
24    enrichment, constructive trust and fraudulent transfer under California Civil Code, §§ 3439, et seq.
25    Gallo alleges defendants manipulated and grossly inflated California natural gas prices and derivative
26
             1
                       W D Energy was sued in this action as EnCana Energy Services, Inc.
27
             2
                       Gallo entered into an April 26, 2001 natural gas sale and purchase agreement with Encana Corp.’s
28   predecessor.

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 1    markets.
 2                The parties have engaged in extensive discovery, and numerous discovery disputes have arisen.
 3    Before addressing the specific dispute subject to Gallo’s sanctions motion, this Court reviews the
 4    history of discovery disputes.
 5                                     History Of Discovery Disputes And Rulings3
 6                This Court issued its February 20, 2004 findings and recommendations to deny defendants’
 7    motion to disqualify Judge Ishii and all other California federal judges. Defendants claimed that Judge
 8    Ishii and California judges, as putative members in energy class actions, had a financial interest which
 9    could be influenced by this action. Judge Ishii issued his March 29, 2004 order to adopt the findings
10    and recommendations to deny defendants’ motion to disqualify Judge Ishii and all California federal
11    judges.
12                This Court’s April 28, 2004 order denied defendants’ motion to coordinate this action’s
13    discovery with seven class actions alleging gas price fixing and centralized in the U.S. District of
14    Nevada by the Judicial Panel on Multidistrict Litigation.
15                On July 14, 2004, Gallo filed its ex parte papers to claim defendants failed to produce tape
16    recordings of telephone conversations of defendants’ gas traders and to suggest defendants had
17    destroyed such tapes.           Defense counsel disagreed with Gallo’s comments regarding evidence
18    destruction. This Court conducted a July 15, 2004 hearing to address Gallo’s concerns and to, in this
19    Court’s mind, resolve the matter of defendants’ production of the tapes. This Court orally admonished
20    the parties’ counsel that counsel was obliged to engage in professional, ethical conduct.
21                This Court’s August 6, 2004 order granted nearly all of Gallo’s requests that defendants
22    produce further documents. In particular, the order required defendants to produce tape recordings of
23    telephone conversations of defendants’ traders and to serve privilege logs, further written responses
24    and declarations regarding efforts to locate requested documents. The order concluded defendants had
25    withheld documents and noted:
26
              3
                       The following summary addresses the disco very disputes a ddressed by this Court. In the interest of brevity,
27   this Court does not address the voluminous law and motion activity which assigned District Judge Anthony Ishii (“Judge
     Ishii”) has encountered as well. In its Ju ne 17 , 200 5 brief, Gallo accurately outlines numero us of this Court’s admonitions
28   to defendants and findings of defendants’ discovery abuses and unprofessionalism.

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 1           In light of this Court’s rulings on Gallo’s motions, this Court surmises defendants and
             their counsel have obstructed Gallo’s legitimate discovery. This Court admonishes
 2           defendants and their counsel that if obstruction to Gallo’s legitimate discovery
             continues, this Court will sua sponte set a hearing to address imposition of sanctions
 3           against defendants and their counsel. (Bold added.)
 4    The order denied Gallo’s request to impose a monetary sanction because Gallo lacked proper
 5    documentation.
 6           This Court’s second August 6, 2004 order denied in part and granted in part WD Energy’s
 7    motions to compel Gallo’s further interrogatory responses and document requests. The order
 8    concluded:
 9           In light of this Court’s rulings on WD Energy’s motions and WD Energy’s fallacious
             arguments, this Court surmises WD Energy and its counsel pursued the motions, at
10           least in part, as a retort to Gallo’s motions to compel and to impose sanctions. This
             Court admonishes WD Energy and its counsel that if such conduct continues, this
11           Court will sua sponte set a hearing to address imposition of sanctions against WD
             Energy and its counsel. (Bold added.)
12
13    The order denied Gallo’s request to impose a monetary sanction because Gallo lacked proper
14    documentation.
15           This Court conducted an August 11, 2004 hearing on Gallo’s ex parte application to hear on
16    shortened time Gallo’s motion to reset discovery and motion dates and to impose a discovery sanction
17    against defendants and their counsel based on failure to produce trader tapes prior to trader depositions.
18    During the conference call with the Court, the parties’ counsel agreed to extend discovery and motion
19    dates to address Gallo’s concerns.
20           This Court’s August 12, 2004 order responded to defendants’ requests to “clarify” the August
21    6, 2004 orders and concluded the gist of defendants’ “clarification is to seek this Court’s
22    reconsideration of its orders and to present similar arguments defendants raised previously.” This
23    Court denied defendants’ requested relief. In mid-August 2004, the parties filed numerous discovery
24    motions. This Court issued its August 18, 2004 order to remind the parties:
25           On the record, this Court has admonished the parties’ counsel that they are prohibited
             to harass opposing parties and counsel, that they must cooperate and proceed
26           professionally, and that they must engage in legitimate good faith attempts to resolve
             discovery disputes. This Court further admonished the parties’ counsel that if there are
27           further accusations of improper, unprofessional conduct, this Court will set a personal
             appearance hearing and rule on imposing sanctions for improper, unprofessional
28           conduct or false accusations of such conduct. (Bold added.)

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 1                   This Court reminds the parties’ counsel that Local Rule 37-252(b) provides in
             part:
 2
                     Counsel for all interested parties shall confer in advance of the filing of
 3                   the motion or in advance of the hearing of the motion in a good faith
                     effort to resolve the differences that are the subject of the motion.
 4                   Counsel for the moving party or prospective moving party shall be
                     responsible for arranging the conference, which shall be held at a time
 5                   and place and in a manner mutually convenient to counsel.
 6           The parties’ counsel shall strictly comply with the conferring requirements and shall
             genuinely engage in good faith to resolve their discovery disputes and to precisely limit
 7           the scope of disputes which genuinely cannot be resolved. This Court will sanction the
             parties and their counsel for failure to strictly comply with the conferring requirements
 8           and failure genuinely to engage in good faith to resolve their discovery disputes and to
             precisely limit the scope of disputes which genuinely cannot be resolved.
 9
10           This Court’s September 16, 2004 order required defendants to provide amended answers to
11    eight of Gallo’s requests for admission but denied Gallo’s request for amended answers as to dozens
12    of its other requests for admissions which were poorly drafted.
13           In response to defendants’ seven discovery motions, this Court’s September 16, 2004 order
14    required Gallo to produce certain computer records, documents reflecting ownership of Gallo and its
15    related entities and privilege logs, to explain redactions in produced documents, and to produce its
16    F.R.Civ.P. 30(b)(6) designee for a further deposition. The order denied defendants’ motion to compel
17    Gallo to produce documents regarding other energy litigation. In denying Gallo’s request to impose
18    monetary sanctions against defendants, this Court explained:
19           Gallo raises legitimate concerns that defendants attempt to overreach in their demands
             and heavy-handedly file notices of motions to extract discovery from Gallo.
20           Defendants raise equally legitimate concerns of Gallo’s limited flexibility in responding
             to defendants’ requests. Based on the parties’ failure to cooperate and to attempt
21           to resolve matters, this Court is required to intervene and as to pending and future
             discovery motions, to intervene early, and if necessary, often in the discovery process.
22           (Bold added.)
23    The order denied Gallo’s sanctions request and required the parties to arrange a conference call with
24    this Court to address pending and future discovery disputes to address attempts at resolution and
25    briefing schedules. The order further denied Gallo’s motion to strike defense declarations and exhibits
26    which this Court found was “petty and heightens the need for this Court’s proactive involvement in
27    discovery motions. . . . In sum, Gallo’s motion to strike the defendants’ response justify this Court’s
28    upfront intervention in discovery motions to better focus the efforts of counsel and to minimize further

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 1    waste of resources, in particular, unnecessary legal fees for the parties.”
 2            Judge Ishii’s September 23, 2004 order denied defendants’ motion to reconsider this Court’s
 3    August 6, 2004 order to require defendants to produce documents, in particular, trader tapes.
 4            On September 23, 2004, this Court conducted a telephone conference with the parties’ counsel
 5    to address defendants’ pending discovery motions and other discovery issues. This Court’s September
 6    23, 2004 order required: (1) defendants to notify Gallo of specific discovery addressing missing or
 7    deleted e-mails; (2) Gallo to provide a further response to defense Interrogatory No. 20 “to more
 8    specifically and fully define and itemize Gallo’s damages”; and (3) the parties “to engage in genuine,
 9    good faith meeting and conferring to address the confidential designation and disclosure of the trader
10    tapes . . . [and] discovery responses and if necessary, to contact this Court to arrange a telephone
11    conference to address disputes and their resolution.”
12            After this Court conducted an October 25, 2004 telephone discovery dispute conference, it
13    ordered defendants to produce portions of tape recordings of two senior managers and Gallo “to serve
14    a further answer to Interrogatory No. 20 to provide a precise damages figure and calculation, or if such
15    information cannot possibly be provided, to explain the process upon which Gallo uses to calculate
16    damages and why Gallo is unable to provide a precise damages figure. Gallo’s further answer must
17    include all information known to date and identify further information which Gallo requires and how
18    Gallo intends to acquire it.”
19            Based on discovery delays, this Court’s November 1, 2004 order reset discovery, motion and
20    trial dates.
21            This Court’s December 16, 2004 order required defendants to search six computer hard drives
22    of eight traders for 66 terms identified by Gallo and to produce responsive documents along with e-
23    mail communications with 90 identified employees and a privilege log. The order denied Gallo’s
24    request to shift to defendants costs associated with the computer discovery and related production of
25    documents. The order denied Gallo’s request to impose an unspecified sanction in the absence of
26    proper support. The order further required the parties’ counsel to show cause in writing why this Court
27    should not impose sanctions for the parties’ failure to cooperate on and to file a joint discovery dispute
28    statement in compliance with this Court’s Local Rule 37-251(a) and (c).

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 1             In early January, the parties again filed numerous discovery motions. Judge Ishii issued his
 2    January 14, 2005 order to deny defendants’ requested reconsideration of this Court’s December 16,
 3    2004 order to require defendants’ computer discovery. Due to discovery delays, this Court’s January
 4    24, 2005 order again postponed discovery cutoffs.
 5             This Court’s January 28, 2005 order granted in part and denied in part Gallo’s requested
 6    discovery relief. The order required:
 7             1.     Defendants to serve revised privilege logs and supplemental declarations regarding
 8                    location and searches for requested documents;
 9             2.     WD Energy to serve its declaration that it has produced all of its traders’ tape
10                    recordings; and
11             3.     Encana Corp. to produce all trader tape recordings to comply with the August 6, 2004
12                    order, to bear related expenses and to serve its declaration that all tapes were produced.
13    As to Encana Corp.’s trader tapes, the order explained: “Encana Corp. and its counsel have not
14    complied with the August 6 order by merely making the Encana Corp. trader tapes available for
15    ‘listening pleasure’ in Calgary. Encana Corp. and its counsel make no attempt to suggest, let alone
16    explain, that their failure to comply with the August 6 order is substantially justified.”
17             The order required defendants to serve further responses to certain interrogatories and
18    document requests but denied Gallo’s requests for further responses as to others. The order required
19    defendants and their counsel to pay Gallo a $2,250 sanction and required Encana Corp. and its counsel
20    to pay a $1,500 sanction to this Court for disobedience of the August 6, 2004 order to produce trader
21    tapes.
22             This Court’s second January 28, 2005 order granted in part and denied in part defendants’
23    requested discovery relief. The order denied defendants’ requests to require Gallo to:
24             1.     Itemize all hard drives, servers and e-mail boxes of 84 Gallo employees and which have
25                    been deleted or erased since June 2000;
26             2.     Explain when and how such materials were deleted or erased, why the materials were
27                    not preserved, and why automatic destruction did not cease when Gallo recognized a
28                    potential natural gas dispute;

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 1           3.      Recover hard drives, servers or e-mails of the employees and which have been
 2                   destroyed and to search for responsive documents once recovered; and
 3           4.      Search computer hard drives, servers and other electronic data of 11 Gallo employees
 4                   whom defendants characterized as “involved in Gallo’s energy decisions, policies and
 5                   purchases.”
 6    This Court commented on the lack of merit of defendants’ computer motions:
 7           This Court is left with the impression that defendants manufactured this discovery
             dispute in response to Gallo’s attempts to seek discovery regarding tapes, e-mails and
 8           computers of defendants’ traders. This Court views defendants’ motion as a harassing
             tactic to distract Gallo. Defendants’ motions pending before the Court reveal their
 9           practice to counter a Gallo motion with a similar motion of their own, meritorious or
             not. This Court has repeatedly warned defendants to cease abusive retaliatory discovery
10           and motion practices.
11                   ...
12           Defendants’ papers reveal this motion retaliates for Gallo’s successful motion to search
             the traders’ computers. This motion mimics Gallo’s motion, except that it lacks
13           support or merit. The gist of defendants’ position is that since the traders’ computers
             will be searched, Gallo should endure searches. However, defendants fail to attempt
14           to justify a search of Gallo’s computers let alone its unfathomable scope, especially
             given that Gallo produced the relevant Supplier Development Department documents
15           and data. Attempting to equate defendants’ proposed searches with the searches of the
             trader computers insults this Court’s intelligence.
16
17           As to defendants’ trader tapes, the order further denied defendants’ request to keep the tapes
18    confidential beyond the parties’ stipulated protective order. The order denied further deposition
19    testimony regarding Gallo executives’ communications with a Stanislaus Foods executive to which
20    Gallo asserts a common interest or joint litigation privilege. The order generally denied defendants’
21    requests for Gallo’s further responses to certain interrogatories and document requests. Lastly, the
22    order required defendants to pay Gallo $4,750 as a sanction.
23           Gallo’s counsel sent her February 11, 2005 letter pertaining to the settlement privilege which
24    this Court applied in its January 28, 2005 order to documents which defendants claimed they provided
25    in connection with settlement with the Commodity Futures Trading Commission (“CFTC”). The
26    Court’s letter of the same date responded that the letter of Gallo’s counsel “is not a mere clarification
27    request and includes much argument.” This Court’s letter directed “the parties’ counsel to meet and
28    confer regarding documents identified” in the letter of Gallo’s counsel.

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 1           This Court’s February 17, 2005 letter responded to defense counsel’s letter of the same date
 2    and directed the parties’ counsel to meet and confer regarding possession and access to Encana Corp.’s
 3    trader tapes which had been delivered to defense counsel’s San Francisco office. This Court’s second
 4    February 17, 2005 letter responded to defense counsel’s second letter of the same date regarding
 5    Gallo’s interrogatory response as to its alleged damages and noted that defense counsel sought sanction
 6    relief subject to a motion and that this “Court will not consider the letter’s requested sanction relief
 7    without defendants’ formal motion and Gallo’s response.”
 8           This Court’s February 23, 2005 letter responded to the letter of Gallo’s counsel of the same date
 9    and which again addressed application of the settlement privilege to documents which defendants
10    claimed they provided to the CFTC for settlement. This Court’s letter noted that the parties continue
11    to write letters “to address discovery matters without their joint agreement” and that again the letter
12    of Gallo’s counsel “is not a mere clarification request” in that Gallo’s issues are “either new to the
13    Court for which this Court cannot provide clarification and will not address informally without the
14    parties’ joint agreement, or are issues on which this Court determined it would not provide Gallo’s
15    requested relief.”
16               Judge Ishii issued his May 4, 2005 order to deny Gallo’s requested reconsideration of this
17    Court’s order that documents which defendants provided CFTC are subject to the settlement privilege.
18    Due to further discovery delays, this Court’s May 9, 2005 order again postponed discovery and motion
19    cutoffs.
20           In response to Gallo’s motion to claim defendants disobeyed this Court’s January 28, 2005
21    order to provide further interrogatory responses, this Court issued its May 11, 2005 order to require
22    WD Energy to produce at its expense for deposition(s) its person(s) most knowledgeable to locate
23    documents and communications subject to certain of Gallo’s interrogatories. With the order, this Court
24    noted it was tempted to designate certain facts in Gallo’s favor and imposed a $1,250 sanction for
25    Gallo’s costs to pursue the discovery sanctions motion.
26           Putting aside the myriad of other disputes, this Court turns to the third-party deposition giving
27    rise to Gallo’s sanctions motion at issue here. After Gallo filed its sanctions motion and moving papers
28    on February 23, 2005, the parties filed further papers, and this Court conducted March 30, 2005, April

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 1    13, 2005 and May 17, 2005 evidentiary hearings, after which the parties filed additional briefing. This
 2    Court will next summarize the evidence and parties’ contentions.4
 3                                                        Deposition Setting
 4                By July 17, 2004 subpoena service and a July 20, 2004 deposition notice served by United
 5    States mail, Gallo set the deposition of Richard Anderssen (“Mr. Anderssen”) for August 17, 2004 in
 6    Houston.5 Mr. Anderssen is a former senior trader for defendants, and Gallo characterizes Mr.
 7    Anderssen as defendants’ key gas trader for California at the time giving rise to Gallo’s claims. Gallo
 8    contends there are dozens of trader tape recordings to implicate Mr. Anderssen in violation of criminal
 9    and civil law. Mr. Anderssen is represented by Houston criminal defense firm Cogdell & Goodling,
10    and Mr. Anderssen’s counsel indicated that Mr. Anderssen would assert his Fifth Amendment right
11    against self-incrimination at his deposition.
12                Based on scheduling conflicts, Mr. Anderssen and his counsel agreed to reschedule his
13    deposition to February 17, 2005.6 James M. Ardoin III (“Mr. Ardoin”), Mr. Anderssen’s counsel
14    assigned to his deposition, sent a January 12, 2005 e-mail to Steven N. Williams (“Mr. Williams”), one
15    of Gallo’s chief counsel in this action, to confirm Mr. Anderssen’s February 17, 2005 deposition.
16    Gallo served only by e-mail a January 12, 2005 amended notice (“January 12 notice”) to reset Mr.
17    Anderssen’s deposition for February 17, 2005 at 9 a.m. in Houston. The January 12 notice also set the
18    deposition of Jay Cattermole (“Mr. Cattermole”) for January 24, 2005 at 9:30 a.m. The proof of
19    service for the January 12 notice reflects it was sent to the e-mail addresses of defense counsel David
20    A. Battaglia (“Mr. Battaglia”)7 of Gibson, Dunn & Crutcher and William C. Hahesy (“Mr. Hahesy”),
21
22
              4
                        This Court carefully reviewed and considered the hearing and deposition testimony, arguments, points and
23   authorities, declarations, exhibits, objections and other evidence and papers submitted by the parties. Omission of reference
     to testimony, argument, a document, pap er or o bjec tions is no t to be construed to the effect tha t this Court did not consider
24   the testimony, argument, document, paper o r objection. This Court thoro ughly rev iewed and considered the evid ence it
     deemed adm issible, material an d appropriate for the issues raised by the parties.
25
              5
                        The subpoe na and deposition notice also sought documents from M r. And erssen.
26
              6
                      In its June 17, 2005 brief, Gallo contends that defendants’ discovery obstruction required postponement
27   of Mr. Anderssen’s deposition.

28            7
                        Mr. B attaglia is one the of lead defense counsel in this action.

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 1    local defense counsel. The proof of service indicates the January 12 notice was served on no other
 2    defense counsel.
 3                 Mr. Williams was assigned Mr. Anderssen’s deposition and a third-party witness’ February 16,
 4    2005 deposition in New York City set by defendants. Because of scheduling and travel concerns, Mr.
 5    Williams arranged with Mr. Ardoin to move Mr. Anderssen’s deposition to 12 p.m. on February 17,
 6    2005. Gallo served a February 11, 2005 amended notice (“February 11 notice”) only by e-mail to reset
 7    Mr. Anderssen’s deposition for 12 p.m. on February 17, 2005. The proof of service of the February
 8    11 notice indicates that Mr. Battaglia and Mr. Hahesy were the only defense counsel to whom the e-
 9    mail was sent. Mr. Williams did not speak with any defense counsel about the deposition’s time
10    change.
11                 On February 16, 2005, LegaLink, the court reporting service for Mr. Anderssen’s deposition,
12    informed Gallo’s counsel that the location of Mr. Anderssen’s deposition needed to be moved from
13    LegaLink’s office to a nearby hotel conference room due to a scheduling conflict. Gallo immediately
14    served by e-mail an amended deposition notice (“February 16 notice”) to provide the hotel location,
15    approximately three miles from LegaLink’s Houston office. The proof of service of the February 16
16    notice indicates that Mr. Battaglia and Mr. Hahesy were the only defense counsel to whom the
17    February 16 notice was sent by e-mail and U.S. mail.8
18                                             The February 16, 2005 E-Mails
19                 On February 16, 20059 at 12:31 p.m.,10 defense counsel Louis E. Shoch III (“Mr. Shoch”) of
20    Gibson, Dunn & Crutcher sent an e-mail to various counsel, including Mr. Williams and Mr.
21    Anderssen’s counsel, to state: “The Amended Rick Anderssen Depo. Notice and Proof of Service that
22    you attached to the e-mail below do not match. The Amended Notice of Depo. is dated/signed
23    February 16, 2005 (today). The Proof of Service is dated February 10, 2005. Please explain or correct.
24    Thank you.”
25
              8
                     The original proof of service ind icates the notice was served on February 10 , 200 5. Gallo’s counsel served
26   an amended proof of service to indicate correct February 16, 2005 service of the notice.

27            9
                        Unless otherwise indicated, all e-mails were sent on February 16, 2005.

28            10
                        Unless otherwise indicated, references will be to Pacific Standard Time.

                                                                  11
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 1           Mr. Battaglia sent a 2:32 p.m. e-mail to various counsel, including Mr. Williams and Mr.
 2    Ardoin, to state:
 3           We received a call this morning from the Cotchett firm indicated [sic] a “relocation”
             of a deposition of Mr. Anderssen “tomorrow.” We have confirmed that there is no
 4           deposition of Ric Anderssen going forward tomorrow or Friday. The defendants did
             not receive proper notice or service of this deposition on either day, and we understand
 5           the witness did not either. Neither [defense counsel] Mr. [Rory] Hernandez nor anyone
             else was prepared to participate in such a deposition, and indeed the clients need to be
 6           present at the mediation on Friday. Mr. Hernandez informed the attorneys in Houston
             this at the Redd deposition earlier today, when they indicated they were leaving town
 7           and that “you should speak to Mr. Williams.” We agree to a mutually agreeable date
             in the future and you can then serve proper notice. (Bold added.)
 8
 9           Mr. Williams responded to Mr. Battaglia with a 2:41 p.m. e-mail to state: “You were properly
10    served. The only thing that changed today was the location. You have no right to call the court
11    reporter to cancel the deposition, as Rory did. I have called them to advise them that we are going
12    forward.” Mr. Battaglia followed up with a 2:45 p.m. e-mail to Mr. Williams and copied it to Mr.
13    Ardoin to state: “We were not properly served and the deposition is not proceeding, as we have
14    confirmed with Anderssen’s counsel.” Mr. Williams responded with his e-mail: “You were and it is.
15    I have spoken with Anderssen’s counsel.” Mr. Battaglia sent a 2:58 p.m. e-mail to counsel, including
16    Mr. Williams and Mr. Ardoin, to state:
17           Any notice was ONLY served by email on us and local counsel and on Dan Cogdell,
             Anderssen’s counsel. Proper service is made pursuant to Fed Rule 5(b) (2) (D) which
18           talks of service by hand or mail and then says that “[d]elivering a copy by any other
             means, including electronic means, consented to in writing by the person served.”
19
             We never consented in writing to receive a deposition notice served on us by email or
20           other means. Nor did Bill Hahesy. I spoke with Jimmie [Mr. Ardoin] in Dan Cogell’s
             office, and he says that he has reviewed the file and the only notice he has received is
21           by email and that there is no evidence of written consent on his end either. We and
             Anderssen’s counsel are amenable to rescheduling at an appropriate time.
22
23    Mr. Battaglia received Mr. Williams’ faxed letter to “All Counsel” which stated: “Just so there is no
24    confusion, the Anderssen depo is going forward tomorrow at Noon at the Sheraton Brookhollow, 3000
25    North Loop West, Houston, Texas, 713/688-0100.” In response to Mr. Williams’ letter, Mr. Battaglia
26    sent his 3:05 p.m. e-mail to counsel, including Mr. Williams and Mr. Ardoin counsel, to state:
27           Note that we object to the deposition being taken in these circumstances, and object to
             any use of the deposition for any purpose in this or any other action. We will not be
28           present, and were not scheduled to be present. It is our understanding that since neither

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 1           the witness nor the parties were properly served, the deposition will not be proceeding
             according to Mr. Cogdell’s office.
 2
 3           Mr. Williams responded with a 3:08 p.m. e-mail to Mr. Battaglia to state: “We have had an
 4    agreement for email service going back over a year. This is a cheap stunt.”
 5           At 3:43 p.m., Mr. Battaglia forwarded to Mr. Williams an e-mail from Gibson, Dunn &
 6    Crutcher associate Eric Maier (“Mr. Maier”) which stated:
 7           By the way, contrary to Williams’ claim, we did not cancel the court reporter. We
             merely advised the court reporter that we – opposing counsel – were not showing up.
 8           In that same call, we were advised that the court reporter for tomorrow was ordered last
             night.
 9
10    Mr. Williams responded to Mr. Battaglia in an e-mail: “That’s not what the court reporter says.”
11           Mr. Ardoin, Mr. Anderssen’s counsel, sent a 3:47 p.m. e-mail to counsel, including Mr.
12    Williams, to state: “Counsel for Richard Anderssen also object to the form of service upon Mr.
13    Anderssen for the same reasons stated in the previous email. Therefore, we will not be producing Mr.
14    Anderssen tomorrow for a deposition.”
15                        Gallo’s Version Of Mr. Anderssen’s Failure To Appear
16                                As Stated In Its Original Moving Papers
17           Mr. Williams claims that upon receipt of Mr. Ardoin’s e-mail he first learned Mr. Anderssen
18    would not appear for his February 17, 2005 deposition and that at approximately 1 p.m. during a break
19    in the February 16, 2005 New York deposition, defense counsel objected to Mr. Anderssen’s
20    deposition on grounds the notices of the new date, time and location had been served by e-mail. Gallo
21    claims that at approximately 1:30 p.m. on February 16, 2005, Mr. Williams’ assistant informed Mr.
22    Williams that she had received a call from LegaLink that defense counsel Rory Hernandez (“Mr.
23    Hernandez”) of Gibson, Dunn & Crutcher had called LegaLink to cancel Mr. Anderssen’s deposition.
24    In his February 23, 2005 declaration, Mr. Williams states:
25           At approximately [1:30 p.m.] on February 16, 2005, I received a call from my secretary
             Linda Clark. Ms. Clark relayed a message that she had received from LegaLink, the
26           court reporting firm retained for the Anderssen deposition. According to LegaLink,
             Rory Hernandez of Gibson, Dunn had called LegaLink to advise them that the
27           Anderssen deposition was cancelled.
28           In his declaration, Mr. Williams notes that he spoke with Mr. Ardoin and attributes Mr. Ardoin

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 1    as saying Gibson, Dunn & Crutcher attorneys attempted to persuade Mr. Ardoin not to produce Mr.
 2    Anderssen for his deposition because the amended deposition notices were improperly served by e-mail
 3    and a February 18, 2005 mediation may result in settlement to avoid Mr. Anderssen asserting his Fifth
 4    Amendment privilege at his deposition. In his March 15, 2005 declaration, Mr. Williams states: “Mr.
 5    Ardoin told me that he was exclusively a criminal lawyer, and thus did not know what rules governed
 6    service in civil actions. Mr. Ardoin told me that he was relying on what he was being told by defense
 7    counsel, and that he was in a difficult position because he was ‘working with’ defense counsel.”
 8    According to Mr. Williams, at 3:30 p.m. on February 16, 2005, Mr. Ardoin called Mr. Williams to
 9    advise Mr. Anderssen would not appear for his deposition based on notice objections.
10                      Defendants’ Version Of Mr. Anderssen’s Failure To Appear
11                             As Stated In Their Original Opposition Papers
12           In his March 11, 2005 declaration, Mr. Battaglia claims “no recollection of receiving or having
13    seen any emails referring to any deposition in this case . . . scheduled for February 17, 2005 until
14    February 16, 2005, the day before.” Mr. Battaglia claims that on February 16, 2005, he first learned
15    during a telephone call with Gallo’s counsel of Mr. Anderssen’s February 17, 2005 deposition and
16    attributes the delay to being away from his office when the February 11 notice was served “after hours”
17    and thereafter for several days when he lacked access to his e-mail. Defendants point out that during
18    the early afternoon of February 16, 2005, LegaLink sent an e-mail to Gibson, Dunn & Crutcher that
19    Mr. Anderssen’s deposition had been set for February 17 and 18, 2005 in Houston.
20           On February 16, 2005, Mr. Hernandez and Mr. Maier participated in depositions in Houston.
21    Mr. Maier received an e-mail on his Blackberry handheld device that his law firm had just received a
22    message that Gallo intended to depose Mr. Anderssen on February 17, 2005. After the deposition, Mr.
23    Maier asked Gallo counsel participating in the Houston deposition about Mr. Anderssen’s deposition,
24    and Gallo’s counsel directed Mr. Maier to Mr. Williams and left for the airport. Defense counsel claim
25    they were unaware of Mr. Anderssen’s February 17, 2005 deposition.
26           In his March 8, 2005 declaration, Mr. Hernandez states:
27                   8.      At the time that [Gallo’s counsel] left the deposition, Debra Henderson,
             the court reporter at [the Houston] deposition, was still in the conference room in which
28           the deposition took place. I mentioned to Ms. Henderson that we just received

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 1            information that Mr. Anderssen’s deposition may proceed the following day, and I
              asked Ms. Henderson whether she had been hired as the court reporter for that
 2            deposition. Ms. Henderson replied that she was not scheduled to work on this case on
              the following day, but that she would telephone LegaLink’s Houston office to find out
 3            whether a deposition in this case was scheduled. . . .
 4                   9.      . . . Ms. Henderson . . . advised us that LegaLink had been hired for a
              February 17th deposition “last night” (i.e., the night of February 15, 2005). . . .
 5
                      10.      When Ms. Henderson told her colleague that defendants were not
 6            planning to attend the deposition, Mr. Maier interrupted Ms. Henderson and asked her
              to clarify the fact that we did not represent the party that hired LegaLink and that we
 7            were not canceling LegaLink’s services for the following day. I then heard Ms.
              Henderson tell her colleague that we were not representing the parties that had
 8            scheduled the deposition, and I heard Ms. Henderson advise her colleague that she
              should telephone the party that ordered LegaLink’s services for the following day.
 9
                      11.    On February 16, 2005, with the exception of my interaction with Ms.
10            Henderson, as described in the preceding two paragraphs, I did not speak with anybody
              who is in any way affiliated with LegaLink. Nor did I attempt to contact or speak with
11            Mr. Anderssen. In fact, I have never met or spoken with Richard Anderssen.
12            Defendants submitted the March 4, 2005 declaration of Britney Jeffrey (“Ms. Jeffrey”),
13    LegaLink’s Houston deposition calendar manager with whom Debra Henderson (“Ms. Henderson”),
14    the LegaLink Houston court reporter, spoke. Ms. Jeffrey declares:
15                    3.      . . . Ms. Henderson advised me that she was with counsel for the
              opposing party, who told her that they may not appear at the deposition due to
16            insufficient notice for the deposition.
17                    4.     During my conversation with Ms. Henderson, I understood that the
              attorneys with her were not the attorneys whose firm had booked a court reporter for
18            the Anderssen deposition. I understood that neither she, nor the attorneys that she was
              with, were instructing me to cancel the court reporter for the deposition of Richard
19            Anderssen on the following day.
20                  5.     At no time on February 16, 2005 was the deposition of Richard
              Anderssen removed from LegaLink’s calendar.
21
                     6.      At no time on February 16, 2005 did I speak with Rory Hernandez, or
22            any other attorney from Gibson, Dunn & Crutcher.
23            Mr. Battaglia notes in his March 11, 2005 declaration that he communicated with Mr. Ardoin
24    on the afternoon of February 16, 2005 “to the effect that defendants did not believe that it [sic] properly
25    had been served with notice of the February 17, 2005 deposition pursuant to the federal rules, that the
26    defendants were not in a position to attend a deposition on February 17 or 18, and that they would
27    object to the deposition and any use of it in this action or any other action as a result. I further
28    explained that our client could not attend the deposition because he was required to be present in San

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 1    Francisco to prepare for a scheduled mediation in this action which had been set to attempt to resolve
 2    the matter. . . . In a subsequent conversation on February 16, Mr. Ardoin indicated both to me and Mr.
 3    Hernandez that he reviewed his client file and the Federal Rules of Civil Procedure and determined Mr.
 4    Anderssen’s deposition had not been properly noticed and that the deposition thus would have to be
 5    rescheduled. . . . Mr. Ardoin stated that the notice on his client had been served only by email without
 6    written consent of the witness or his client.”
 7           Mr. Hernandez claims that on February 23, 2005, he again advised Mr. Williams that Mr.
 8    Hernandez neither canceled Mr. Anderssen’s deposition nor telephoned LegaLink regarding it.
 9                               Ms. Henderson’s Declarations And E-Mails
10           In response to Mr. Hernandez’ March 8, 2005 declaration, Gallo filed the March 15, 2005
11    declaration of Ms. Henderson, the court reporter for the February 16, 2005 Houston deposition. As
12    noted by Gallo, Ms. Henderson contradicts Mr. Hernandez: “I took the deposition . . . in the Gallo v.
13    Encana case on February 16, 2005. The deposition concluded at approximately 4:00 p.m. While I was
14    packing up my equipment, I engaged in a conversation with Mr. Rory Hernandez/Mr. Maier about the
15    next day’s deposition, if any, and was told that they would not be producing the witness for the next
16    day.” (Bold added.)
17           On March 17, 2005, Ms. Henderson sent Mr. Williams e-mails to note her discomfort “to
18    engage in dueling affidavits” and explained:
19           [Mr. Maier] proposed an alternative affidavit that I did not totally agree with the
             verbiage, but it did call into question some points in my memory. If the big issue here
20           is the words ‘produce his witness’ then I cannot swear that he/they said those EXACT
             words. . . . It is possible that Mr. Maier may have simply said they would not be present
21           versus they would not be producing the witness. I do not remember specifically the
             exact words. Because there are only two sides involved in this case, I may have
22           assumed that if they were going to be present that would mean their witness would not
             be present for your side to depose. The only truly strong memory I have and can swear
23           to is that there was a question about the next day’s deposition going forward because
             of an issue of timing of the notice raised by Mr. Maier/Mr. Hernandez. Beyond that I
24           don’t know that I can add anything further.
25           Ms. Henderson followed up with a later March 17, 2005 e-mail to Mr. Williams to further
26    explain:
27           My concern and focus at that time was whether there was a deposition the next day,
             would I have to cancel appointments to cover it . . . & being relieved to know that since
28           it was going to be a CNA [certificate of non-appearance] someone else could cover it.

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 1              Sorry, but I can’t swear to either side that the specific words “my witness” were or were
                not used, only “adequate or sufficient notice” and “not going to be there” were said.
 2
 3              Defendants followed up and filed Ms. Henderson’s March 17, 2005 declaration wherein she
 4    states:
 5              I am submitting this declaration in order to clarify a statement that I made in a
                declaration that I signed on March 15, 2005, in which I discussed a February 16, 2005
 6              conversation I had with Rory Hernandez and Eric Maier. From that conversation, I
                knew that Mr. Hernandez and Mr. Maier had not noticed the deposition, and I therefore
 7              assumed that they represented the witness. They told me that they had not received
                adequate notice of the deposition and would not be attending the deposition. This
 8              prompted the call to my office to confirm the timing of the scheduling of the deposition
                the following day.
 9
10              In his March 25, 2005 declaration, Mr. Hernandez states:
11              Neither Mr. Maier nor I ever stated to any court reporter of LegaLink that we
                represented Richard Anderssen or that we “would not be producing the witness for the
12              next day.” I never made such a statement to Debra Henderson, and neither did Mr.
                Maier, who was in my presence during the exchange that took place with Ms.
13              Henderson.
14                                             Mr. Ardoin’s Affidavit
15              On March 29, 2005, Mr. Ardoin faxed to this Court his March 28, 2005 affidavit in which he
16    states:
17                      . . . around 4:30 p.m. [EST] on February 16, 2005 I received a phone call
                followed by an email from defense counsel, David Battaglia, stating that the Defendants
18              were objecting to any deposition going forward because of improper service. They
                cited to me a rule, Federal Rule 5(b)(2)(D), which requires service by hand or mail and
19              then provides for service by “[d]elivering a copy by any other means, including
                electronic means, consented to in writing by the person served.” It was then that I
20              checked our file in the office and discovered that at no point had we consented in
                writing to service by e-mail. I then went to speak with Mr. Cogdell and informed him
21              that there was an issue with service and whether it was proper under this rule. I told
                him that we should not produce Mr. Anderssen because at that moment I could find no
22              legal reason to convince me otherwise. My reason for not wanting to produce Mr.
                Anderssen was in the event that the Defendant’s objection was valid, I did not want to
23              have to produce our client twice for a deposition.
24                       I then spoke to Mr. Williams on the phone and informed him that I had no
                choice but to cancel the deposition given this rule and my interpretation of it. At no
25              time during our conversations on February 16, 2005 did Mr. Williams offer me a legal
                reason as to why I should produce my client other than to say, “(the defendants) are
26              wrong on this one.” Mr. Williams has since then taken the position that he believes the
                rule is applicable only to parties and not to third party witnesses. I was not shown nor
27              have I been shown any case law by either side that stands for either one’s contention
                as to how this rule is applied in practice.
28

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 1                  Without a compelling legal ground presented to me at that moment, and with
             not much time to spare due to the late hour this objection was raised, I felt I had no
 2           choice other than to advise my client not to testify because I felt there was a service
             issue with his notice of deposition. My decision not to produce Mr. Anderssen was
 3           separate and independent from any decision by counsel for the defendants and was
             based solely on protecting my client’s best interests.
 4
 5                           Mr. Williams’ March 30, 2005 Hearing Testimony
 6           Mr. Williams testified at the March 30, 2005 evidentiary hearing that in this action, “documents
 7    have been served routinely by e-mail, often with courtesy copies” and that he “received documents by
 8    e-mail constantly.” Mr. Williams testified that Mr. Battaglia sent him an e-mail to agree “to serve
 9    papers by e-mail in this case” but Mr. Williams has not located the e-mail. At the time of the January
10    12 notice, Mr. Williams believed the service “was done in accordance” with this Court’s Local Rules
11    because defense counsel “had already signed up, and we were getting papers through the e-filing
12    system that they were filing.” Mr. Williams further believes that the February 11 notice for Mr.
13    Anderssen’s deposition complied with this Court’s Local Rules.
14           Mr. Williams testified that prior to receiving Mr. Battaglia’s 2:32 p.m. e-mail that Mr.
15    Anderssen’s deposition would not proceed, Mr. Ardoin had not informed Mr. Williams that Mr.
16    Anderssen would not appear for his February 17, 2005 deposition:
17           Q.      Prior to this e-mail, Exhibit 5, had Mr. Ardoin said at any point in time that it
                     was his intent not to produce the witness on the 17th either at the time it had
18                   been amended, or at the location as amended?
19           A.      No, he had not.
20           Q.      Did he ever say to you that he did not believe that he had received improper
                     notice of the deposition?
21
             A.      No.
22
             Q.      Did he ever tell you at any point in time that he felt that any notice of the
23                   deposition had been issued as to him was improper?
24                   ...
25           A.      Before this, no. He’d never mentioned any concern or issue about the
                     deposition whatsoever.
26
             Q.      In connection with the e-mail that you had sent to him, confirming the
27                   deposition back on January 12th of 2005, did he ever tell you that he wanted you
                     to serve notice of the deposition by mail?
28

                                                        18
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 1          A.     No.
 2                 ...
 3          Q.     Once again, Mr. Williams my question was at any point in time prior to your
                   receipt of this e-mail, did you ever learn from Mr. Ardoin that he had any
 4                 objection to communications that you had made to him through the e-mail
                   system?
 5
            A.     No.
 6
 7          As to Mr. Ardoin’s explanation not to produce Mr. Anderssen, Mr. Williams testified:
 8                 [Defense counsel] had told him that the defense counsel had objections to
            service. That they had also told him that there as a mediation scheduled for the
 9          following day, and that if the mediation were successful, Mr. Anderssen could then
            avoid ever having to assert his Fifth Amendment rights, and that would be in Mr.
10          Ardoin’s client’s interests.
11                 They also told him they were objecting, as I said, on the basis of the Rules of
            Civil Procedure, as to which Mr. Ardoin said to me, “I’m a criminal lawyer. I don’t
12          know the rules, but they’re telling me that the rules give them an objection to the
            deposition going forward,” and that he did not know at that time what he should do.
13
14          Mr. Williams testified that after Mr. Battaglia’s 2:45 p.m. e-mail, he again telephoned Mr.
15    Ardoin:
16          Q.     Mr. Williams, for the purposes that the Court has indicated, what did he say?
17          A.     He indicated he’d not been able to speak to Mr. Cogdell [a partner in Mr.
                   Ardoin’s firm], that he was concerned because he said, quote, I have to work
18                 with these people, referring to defense counsel, that he was a criminal lawyer,
                   and he didn’t know civil law, and he was very uncomfortable at being asked to
19                 make a decision based upon how civil law might apply, and as I said, he’d not
                   yet spoken to Mr. Cogdell, so thus, he’d not yet decided what was going to
20                 happen with his client.
21          Q.     Okay. So at that point in time, what was your understanding of whether or not
                   this deposition was proceeding?
22
            A.     At that point in time, my understanding was it was still going forward as the
23                 witness’ counsel had not indicated any intention not to produce his client.
24                 ...
25          Q.     As of shortly after 2:45, the receipt of the e-mail from Mr. Battaglia that
                   confirmed the deposition was not going forward, after that e-mail, and then
26                 after you conversation with Mr. Ardoin, which I understand occurred shortly
                   thereafter, what was your understanding of whether that deposition was going
27                 forward?
28          A.     My understanding was that at that point in time, the deposition was still set to

                                                     19
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 1                   go forward.
 2           Q.      Had Mr. Ardoin told you at that point in time that he was not showing up with
                     his witness because he didn’t get proper notice?
 3
             A.      No.
 4
 5           In reference to Mr. Battaglia’s 2:58 p.m. e-mail that Mr. Battaglia had spoken to Mr. Ardoin
 6    and there is no evidence of written consent to e-mail service, Mr. Williams testified that Mr. Battaglia’s
 7    e-mail was inconsistent with his telephone conversation with Mr. Ardoin. Mr. Williams further
 8    testified that Mr. Battaglia’s 3:05 p.m. e-mail that Mr. Anderssen’s deposition will not proceed because
 9    of improper service is inconsistent with his conversation with Mr. Ardoin. Mr. Williams testified that
10    as of 3:05 p.m., he had received no warning that Mr. Ardoin would not produce Mr. Anderssen for his
11    deposition.
12           Mr. Williams testified that Mr. Ardoin telephoned him to apologize that Mr. Ardoin was
13    sending his 3:47 p.m. e-mail to state he objected to service for Mr. Anderssen’s deposition and would
14    not produce him. Mr. Williams testified that Mr. Ardoin’s telephone call was the fist instance that Mr.
15    Williams learned that Mr. Anderssen would not appear for his February 17, 2005 deposition. Mr.
16    Williams further testified:
17           I asked Mr. Ardoin to honor his agreement to produce his client as he suggested. I
             suggested to Mr. Ardoin that he - - if he was going to take the suggestion of defense
18           counsel, to review Federal Rule 5 to determine whether or not that applied to him as a
             nonparty who agreed to produce his witness on that date. Those two things I asked him
19           to do, sir.
20           Mr. Williams testified he further learned of a problem with Mr. Anderssen’s deposition from
21    his secretary’s telephone call late in the afternoon of February 16, 2005. According to Mr. Williams,
22    he telephoned Chad at LegaLink’s San Francisco office and attributes Chad as saying Mr. Anderssen’s
23    deposition had been canceled based on Mr. Hernandez’ statements. Mr. Williams telephoned
24    LegaLink’s Houston office, spoke to Brittany and told her he took the position that Mr. Anderssen’s
25    deposition should proceed in that Gallo set it.
26           Mr. Williams testified he filed Gallo’s sanctions motion on good faith based on “dealings
27    between defense counsel, and Mr. Ardoin,” “several calls by defense counsel to Mr. Ardoin, the
28    obvious fact that he was weighing what to do, and he didn’t know what to do, and he was having

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 1    pressure put on him,” “[n]othing said to me by Mr. Ardoin on that day,” and LegaLink’s Brittany not
 2    indicating “in any way that I was mistaken on anything I was asking her about.” Mr. Williams further
 3    testified the he “spoke to Brittany, who did not say I was wrong in any respect in terms of someone
 4    having attempted to cancel the deposition and me directing her that it not be canceled.”
 5            As to attempting to obtain Mr. Ardoin’s declaration, Mr. Williams testified that Mr. Ardoin
 6    “said he was concerned, he did not want to become more involved. But as he said in his prior call, that
 7    he still had to work with these people.”
 8                            Mr. Battaglia’s April 13, 2005 Hearing Testimony
 9            Mr. Battaglia testified at the April 13, 2005 evidentiary hearing that the January 12 notice was
10    received on Mr. Battaglia and Mr. Hernandez’ computer system and that Mr. Battaglia “reviewed it”
11    and sent it to Mr. Hernandez and Mr. Shoch. Mr. Battaglia does not remember receiving the January
12    12 notice but knows he did “based on a subsequent review of the email system” which he performed
13    about a week prior to the April 13, 2005 evidentiary hearing in preparation for it. Mr. Battaglia
14    testified:
15            I don’t remember receiving it or sending it. When I went back and checked my sent
              items folder about a week ago, I have a record of forwarding it on to Mr. Shoch and Mr.
16            Hernandez. When I checked my computer earlier, I checked my inbox and my deleted
              items folder and I did not find that email. I did not check my sent items folder at that
17            time because I didn’t have an idea that it would be sent.
18    Mr. Battaglia does not recall giving Mr. Hernandez or Mr. Shoch direction regarding the January 12
19    notice and did not know “what action they would take with it or not. . . . I had no expectations that
20    would end up on any calendar as a result of sending it to them.” Mr. Battaglia further noted that the
21    January 12 notice included Mr. Cattermole’s deposition for which Mr. Hernandez and Mr. Shoch were
22    responsible. Mr. Battaglia testified that he does not recall reviewing the January 12 notice’s proof of
23    service to prompt an objection to e-mail service.
24            As to the February 11 notice of Mr. Anderssen’s deposition, Mr. Battaglia testified that his
25    computer received it by e-mail at 5:25 p.m. on February 11, 2005 after Mr. Battaglia had left the office
26    for a brief family vacation and that Mr. Battaglia did not open the e-mail until February 16, 2005 when
27    he returned to his office. According to Mr. Battaglia, he could not retrieve his e-mails with his hand
28    held Blackberry device because of reception and service difficulties.

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 1                 Mr. Battaglia testified that at around 11:20 a.m. on February 16, 2005, he received a telephone
 2    call from Mr. Williams’ assistant that Mr. Anderssen’s deposition had been rescheduled for a hotel and
 3    “that was the first that I had heard that there was a deposition the next day of Mr. Anderssen.” Mr.
 4    Battaglia noted he “was surprised because I was not aware of a deposition scheduled the next day.”
 5    Mr. Battaglia noted that he inquired of paralegal Mary Bellous (“Ms. Bellous”)11whether the deposition
 6    had been “on calendar the next day” and asked Ms. Bellous and paralegal Chris Ballough (“Mr.
 7    Ballough”) to attempt to find a deposition notice and they did not find a notice for Mr. Anderssen’s
 8    February 17, 2005 deposition. Mr. Battaglia noted that he was unable to locate a deposition notice in
 9    his files and telephoned Mr. Maier, who attended a Houston deposition and who indicated that he and
10    Mr. Hernandez were unaware of Mr. Anderssen’s February 17, 2005 deposition. Mr. Battaglia
11    testified: “I also believe that I . . . had checked my emails . . . in connection with looking at the hard
12    copy and located a February 11th email, communication to me about a deposition of Mr. Anderssen that
13    was going to occur on February 17th.” Mr. Battaglia noted he received another notice for Mr.
14    Anderssen’s deposition by e-mail around 12 p.m. on February 16, 2005.
15                 Mr. Battaglia testified that he had three telephone conversations with Mr. Ardoin on February
16    16, 2005. Mr. Battaglia estimated they occurred around 12-12:30 p.m., 2-2:15 p.m., and 2:45-3 p.m.12
17    Mr. Hernandez joined the second and third conversations. Mr. Battaglia explained his “purpose was
18    to check on whether there was a deposition of Mr. Andersen scheduled for the next day and how
19    service was effectuated.” Mr. Battaglia claims that on February 16, 2005, he was unaware of the
20    January 12 notice.
21                 Mr. Battaglia described the initial telephone conversation, Mr. Ardoin’s return call to Mr.
22    Battaglia:
23                        I indicated that we had just received information that a deposition of Mr.
                   Anderssen was supposed to occur the next day . . . and that I wanted to know whether
24                 there was a deposition the next day because this was a surprise to us.
25                        ...
26
              11
                       According to Mr. Battaglia, Ms. Bellous is a “deposition coordinator” and responsible to “keep track” of
27   depo sition scheduling and Mr. B attaglia and M s. Bellous de veloped a system to calendar depositions.

28            12
                         In his deposition, Mr. Ardoin recalled only the two later telephone conversations with Mr. Battaglia.

                                                                   22
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 1                   [Mr. Ardoin] indicated that there was a deposition that was supposed to occur
             the next day, February 17th. He looked at his files and told me, in response to my
 2           questions, that the service upon us was electronic in nature. I asked him whether or not
             there was any other means of service, mail or hand delivery on us according to his files.
 3           He said no. He observed at that point that there was no service on him, mail or hand
             delivery either. I indicated that we may have an objection to the deposition because we
 4           do not believe that we had received proper service of this particular notice of deposition
             under Rule 5, which required service by hand delivery or mail or electronic means, if
 5           there was written consent between the parties. I indicated to him at that point that we
             had not consented to receive service electronically. He observed that he did not consent
 6           either.
 7                   ...
 8                   At that time he did not tell me he would not produce the witness.
 9           Mr. Battaglia noted he “presumed that Mr. Anderssen and Mr. Ardoin were going to present
10    at that deposition.” Mr. Battaglia testified that based on Mr. Maier’s conversation with Gallo counsel
11    Frank Pitre and Greg Durbin (“Mr. Durbin”) following the February 16, 2005 Houston deposition, Mr.
12    Battaglia surmised Gallo’s counsel rejected rescheduling Mr. Anderssen’s deposition. Mr. Battaglia
13    initiated the second telephone conversation to inform Mr. Ardoin “of what we heard from opposing
14    counsel regarding the deposition and whether it could be rescheduled. And I wanted to inform him
15    formally of our objections to the deposition going forward given the lack of either proper or actual
16    notice.” Mr. Battaglia further testified:
17                    I relayed something to the effect that we had tried to approach counsel about the
             lack of notice and about the fact that we’re surprised that a deposition is going forward.
18           And that we were told that we had bad information that it appeared that opposing
             counsel was not in a position at that point to reschedule the deposition. I told him that
19           we had done a further investigation and determined that the notice that we received was
             only electronic in nature, that we had just become aware of the deposition, to my
20           recollection, on the 16th, the day before. I communicated to him that there was – that
             we would never have set a deposition on this date because there was a mediation
21           scheduled for February 18th and that our client, who was present at all former employee
             and employee depositions in this case could not be present because he was scheduled
22           to fly to San Francisco to meet with Canadian counsel and Canadian representatives to
             prepare for this mediation that was scheduled on February 18th. And that there – given
23           the circumstances, that we did not have proper notice, I recited, at this point, I think,
             Rule 5 of the federal rules and indicated that we had not consented to electronic notice
24           and that we therefore were objecting to the deposition, both because of proper and lack
             of actual notice and circumstances. That we could not, we believe, cover this
25           deposition and the client could not be present.
26                   ...
27                   I may not have used the word “actual notice,” but I told him that notice was not
             proper under the federal rules and I think I cited Rule 5. And then I told him that we
28           just became aware of this deposition that day, that this was going forward. I may have

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 1           used actual notice, but that was the gist of what I was communicating.
 2           Mr. Battaglia attributes Mr. Ardoin as responding that “based on these objections, the
 3    deposition, it appears, will need to be rescheduled and will be rescheduled.” Mr. Battaglia denied that
 4    he told Mr. Ardoin that if mediation were successful, Mr. Anderssen would not need to assert the Fifth
 5    Amendment and that cancelling the deposition would be in Mr. Anderssen’s best interests. Mr.
 6    Battaglia further denied he told Mr. Ardoin that mediation would result in settlement.
 7           Mr. Battaglia testified that at the time of the third telephone call with Mr. Ardoin, Mr.
 8    Battaglia’s firm had decided not to attend Mr. Anderssen’s February 17, 2005 deposition due, to among
 9    other reasons, difficulty to staff the deposition. Mr. Battaglia noted the third telephone conversation
10    was prompted by Mr. Williams’ e-mail to indicate that Mr. Williams had spoken with Mr. Anderssen’s
11    counsel and that Mr. Anderssen would be produced on February 17, 2005. As to the third telephone
12    conversation, Mr. Battaglia testified:
13           I asked Mr. Ardoin whether the deposition was going to be proceeding the next day and
             proceeded to register our objections.
14
                     ...
15
             . . . I quoted to him the federal rule. And indicated that we did not receive proper
16           service. I also indicated the prior things that I had mentioned. That we just found out
             about this. He asked for a citation to the federal rule, the exact citation and indicated
17           that at the end of our conversation, he would confirm in writing to the parties that the
             deposition would have to be rescheduled if the rule was as I recited it to him.
18
19    Mr. Battaglia further testified regarding the third telephone conversation:
20                    I received an email from Mr. Williams indicating he had spoken with Mr.
             Anderssen’s counsel and the deposition was going forward. That’s how I interpreted
21           it. I called Mr. Ardoin to see whether the deposition was going forward or not. And
             we had a communication where I set forth the reasons again why we objected to it
22           going forward. He told me that the deposition would be rescheduled. If the rule is as
             I quoted it because he thought that there was not proper service in the circumstances.
23
                     ...
24
                    I was advocating my client’s objections to the deposition so that he would
25           understand them and hopefully appreciate them and that the deposition could be
             rescheduled. I did not know whether or not it was going to be rescheduled or not.
26           Ultimately, he told me he would confirm by written email that the deposition was not
             going to go forward. I didn’t receive that email until later in the day. I did not know
27           whether it was going forward or not. But I wanted to be sure that our objections to this
             deposition going forward, that my client had, were clear and that he appreciated what
28           our objections were.

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 1                 Mr. Battaglia’s testimony continued:
 2                 Q.     Was it your purpose in advocating your client’s position forcefully at two and
                          2:15 and at 2:45 to three to convince Mr. Ardoin not to produce his witness the
 3                        next day?
 4                 A.     As you frame that, yes.
 5                        ...
 6                 A.     Mr. Ardoin is the one who has to make a decision about whether or not he’s
                          going to produce his witness or not. Whether or not he believes that the
 7                        objections are valid or appropriate or not. . . . During the day, Mr. Williams
                          was calling Mr. Ardoin,13 according to his emails, and indicating that he was
 8                        trying to persuade Mr. Ardoin that the deposition should go forward, that our
                          objections are not appropriate. I received this email from . . . Mr. Williams
 9                        and I called up to see whether it’s going forward again and here’s our
                          objections. I then received a fax from Mr. Williams indicating that just so
10                        there’s no confusion, the deposition is going forward tomorrow. That’s when
                          I sent the next email that says, look, it’s the last thing I can do here, we object
11                        to it going forward. We do not have proper notice. We object to any use of
                          it in this action. . . . I don’t know at that point whether it’s going forward or not
12                        going forward based on Mr. Williams’ conversations with . . . Mr. Ardoin . .
                          . So that’s what I mean. I’m advocating my client’s position and – and hoping
13                        that it is appreciated. I don’t know whether it will be ultimately or not.
14                 Mr. Battaglia denied that he told Mr. Ardoin that mail service was required for Mr. Anderssen’s
15    deposition notice and that F.R.Civ.P. 5 applied to Mr. Anderssen as a third-party witness. Mr.
16    Battaglia testified he does not know whether F.R.Civ.P. 5 applies to nonparties and did not know
17    whether F.R.Civ.P. 5 required Mr. Anderssen’s counsel to receive notice of Mr. Anderssen’s
18    deposition by U.S. mail. Mr. Battaglia testified he did not mention this Court’s Local Rules to Mr.
19    Ardoin.
20                 Mr. Battaglia noted that his understanding as of February 16, 2005 and currently is that e-mail
21    service of a deposition notice is insufficient because according to this Court’s Local Rules, the
22    CM/ECF system “applied to court filed records and notices therefore generated by the Court. I did not
23    think of the ECF rules in connection with this particular notice of deposition of Mr. Anderssen that
24    came up on the 16th because I am aware or was aware that it applied to court filed records.”
25                 Mr. Battaglia testified that Ms. Bellous no less than weekly circulated a schedule of upcoming
26    depositions in this action. The January 19, 2005 schedule does not include Mr. Anderssen’s February
27
              13
                        Mr. Battaglia ack nowledge d that M r. Ardoin did not confirm that M r. Ardoin had spo ken with Mr. Williams
28   and that M r. Battaglia did no t ask Mr. A rdoin if M r. Ardoin had spok en with M r. Williams.

                                                                   25
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 1    17, 2005 deposition but includes the January 24, 2005 deposition of Mr. Cattermole, which was jointly
 2    set by Gallo’s January 12 notice. According to Mr. Battaglia, Mr. Anderssen’s February 17, 2005
 3    deposition “was not on any calendar from January through February 11th” and not on deposition
 4    schedules circulated by Ms. Bellous because Mr. Anderssen’s deposition had not been set, and “it was
 5    neither on LegaLink’s schedule nor had we received mail or hand delivery notice that would make it
 6    to our records center.” Mr. Battaglia further noted: “We don’t use the email of a deposition notice,
 7    never have, to put our calendar together.” According to Mr. Battaglia, since January 1, 2005, Gallo
 8    has served only Mr. Anderssen’s deposition notice exclusively by e-mail and without U.S. mail or
 9    personal service.
10                Mr. Battaglia noted that he attempted to obtain Mr. Ardoin’s declaration to oppose Gallo’s
11    sanctions motion and drafted a declaration for Mr. Ardoin but Mr. Ardoin did not sign a declaration
12    prepared by defense counsel. Mr. Battaglia noted neither he nor anyone at Gibson, Dunn & Crutcher
13    has spoken to Mr. Anderssen.
14                                Mr. Ardoin’s April 22, 2005 Deposition Testimony
15                The parties’ counsel deposed Mr. Ardoin on April 22, 2005 in Houston, Texas. Mr. Ardoin
16    testified he has been an attorney since November 2004 and devotes his practice to criminal defense
17    with limited civil work. Mr. Ardoin explained he has not practiced in federal court.
18                Mr. Ardoin confirmed that his law firm received the January 12 notice for Mr. Anderssen’s
19    deposition and that he intended when he received it to produce Mr. Anderssen for his reset deposition
20    on February 17, 2005 at 9 a.m. Mr. Ardoin noted he had no discussions with any defense counsel prior
21    to Mr. Battaglia’s 2:32 p.m. e-mail on February 16, 2005.14 According to Mr. Ardoin, when he
22    received Mr. Battaglia’s 2:32 p.m. e-mail, Mr. Ardoin intended to produce Mr. Anderssen at the
23    relocated deposition site and had not told Mr. Battaglia that he would not produce Mr. Anderssen.
24                Mr. Ardoin testified he spoke to Mr. Battaglia and perhaps Mr. Hernandez15 by telephone
25
26           14
                       However, later in his dep osition , M r. Ardoin noted he participated in a January 2005 spea ker phone
     conversation with Mr. Hernandez and an attorney who represented another third-party witness and that “we just kind of
27   glossed over the fact that Anderssen would be taking the Fifth.”

28           15
                       Later in his deposition, Mr. Ardoin recalled Mr. Hernandez was included in the telephone conversation.

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 1    around 2:30 p.m. for an estimated five minutes during which “the majority of time it was Mr. Battaglia
 2    talking.” Mr. Ardoin pointed out that the conversation addressed defense counsel’s “objection to
 3    service”:
 4           A.      They explained to me that – pretty much the content of the E-mail that they sent
                     at [2:30 p.m.] in regards to objecting about proper notice. I asked them why
 5                   they felt that the service upon them was inappropriate because of a certain rule
                     of civil procedure, Federal Rule of Civil Procedure, and I asked them to then
 6                   forward that rule to me so that I could take a look at it and make a
                     determination whether it applied to our client or not.
 7
             Q.      And when you say did it apply to your client or not, what did you mean by that?
 8
             A.      Well, there was some question as to whether they were served properly. Then
 9                   they asked me if we were served properly. They explained to me the rule over
                     the phone and their interpretation of the rule and how it applied and asked if we
10                   had ever consented, in writing, to being served by E-mail. I checked our file
                     and saw that we never consented in any way in writing. . . . . I took a look at it
11                   [rule], combined with our file, and thought that there was a problem there.
                     There was potentially a problem there.
12
             Q.      Problem with service upon your client?
13
             A.      Yes, upon Mr. Anderssen.
14
             Q.      And at that point in time, was it your understanding that the rule they cited to
15                   you applied to service upon non-parties such as your client?
16           A.      It – it was my understanding reading the rule myself and using what little law
                     school and real world legal training that I have at this point that it didn’t
17                   determine – to me, it didn’t seem like there was a distinction between parties
                     and non-parties so, therefore, I felt it best to not produce Mr. Anderssen the
18                   next day.
19    Mr. Ardoin elaborated that at that point, “I was heavily leaning toward not producing him because of
20    the rule I had read,” but had not definitively decided not to produce Mr. Anderssen. Mr. Ardoin “gave
21    no final determination” to Mr. Battaglia and Mr. Hernandez and said: “I needed to examine the rule
22    a little bit closer, and I would have a response to this shortly.” Mr. Ardoin further noted: “I said to
23    them that we were only served by E-mail and that we had never consented in writing, there was no
24    consent in writing in our file to being served by E-mail.” Mr. Ardoin explained that until Mr. Battaglia
25    posed questions regarding service of Mr. Anderssen’s deposition notice, Mr. Ardoin intended to
26    produce Mr. Anderssen. Mr. Ardoin testified that Mr. Battaglia committed to reset Mr. Anderssen’s
27    deposition for a mutually convenient date.
28           Mr. Ardoin testified that shortly after his conversation with Mr. Battaglia and Mr. Hernandez

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 1    and at around 2:40 p.m., Mr. Ardoin spoke with Mr. Williams by telephone for an estimated five
 2    minutes. According to Mr. Ardoin, he told Mr. Williams “there were questions about service and
 3    because of that question, that I had read the rule and was still analyzing it but my initial thought was
 4    we were not going to produce Mr. Anderssen tomorrow based on this rule.”
 5           Mr. Ardoin noted that after his telephone conversation with Mr. Williams, he had a second
 6    telephone conversation with Mr. Battaglia, Mr. Hernandez and perhaps a third Gibson, Dunn &
 7    Crutcher attorney. Mr. Ardoin testified:
 8           A.      . . . I still have questions about this rule. We haven’t been – we never
                     consented in writing, and that’s when they brought up the fact of the mediation
 9                   and that it was going – going forward on – the next day, and I’m trying to think
                     exactly what – the mediation was going forward the next day. If – you know,
10                   I’m trying to think of what exactly they said about the mediation. If there was
                     any way to get the mediation resolved, kind of along the lines of what you were
11                   saying before, Mr. Anderssen might not have to take his – exercise his Fifth
                     Amendment rights and I told him, “Well, you know, this rule at this point kind
12                   of gives me reason not to show up and produce our witness tomorrow.”
13           Q.      In terms of the substance of what you said, Mr. Battaglia used words or
                     substance to the effect that if the mediation was successful, then the likely
14                   effect would be that your client would not have assert his Fifth Amendment
                     rights. Did I capture that accurately?
15
             A.      Correct.
16
             Q.      An those were words that you recall being used by Mr. Battaglia?
17
                     ...
18
             A.      Yes.
19
20    Mr. Ardoin further testified that Mr. Battaglia and Mr. Hernandez “talked about their hope . . . the
21    mediation would be successful and that Mr. Anderssen could avoid having to go on record invoking
22    his Fifth Amendment.” Mr. Ardoin noted that he told Mr. Battaglia and Mr. Hernandez:
23           “Well, this” – “this rule is good reason for me not to produce our witness, that I’m not
             going to produce him twice. If y’all weren’t served properly, we weren’t served
24           properly. I’m certainly not going to produce someone to take the Fifth in two different
             depositions.”
25
26    Mr. Ardoin noted at that point, he had determined not to produce Mr. Anderssen for a February 17,
27    2005 deposition because:
28           . . . I had read Rule 5 which said in order for service by E-mail, you need a written

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 1            consent. I looked at our file, saw there was no written consent, didn’t have a whole lot
              of time to do a lot of research on it. They had objected already. I had received their E-
 2            mail noticing an objection to the deposition going forward, but my thought process at
              that point was if that objection is sustained and I produce our witness, we’re going to
 3            have to come back and do this whole thing over again, and I’m not about to produce
              a witness with potential criminal exposure to take the Fifth to two separate depositions.
 4
 5            Mr. Ardoin testified he spoke with Mr. Williams by telephone around 3:15 p.m. for an
 6    estimated five to 10 minutes. According to Mr. Ardoin, he apologized to Mr. Williams and noted “we
 7    need more time on this because I don’t think service was proper. I’d produce him if service was proper
 8    but right now, I don’t think it is.”
 9            Mr. Ardoin believes he told Mr. Williams he “was feeling pressure” from defense counsel:
10            A.      . . . I felt pressured to do something at the 11th hour. I felt like I was put in a
                      position where had no choice other than to make a decision that could greatly
11                    affect my client.
12            Q.      And in terms of the – the decision that you ultimately made about Rule 5, were
                      you pretty much relying on their interpretation of the rule.
13
              A.      No, I was relying on my interpretation. I’ve come to learn don’t ever rely on
14                    anybody else’s interpretation of anything.
15                    ...
16            Q.      And was it your understanding from conversations you had with Mr. Battaglia
                      and Mr. Hernandez that they believed that Rule 5 would apply to a witness like
17                    your client, Rick Anderssen?
18            A.      They didn’t come out and say that, but I think by the fact that they asked me to
                      check and see what I – what I thought of this rule, you know, kind of implied,
19                    that, yeah, you better – you better see if this applies to witnesses as well.
20                    ...
21            A.      . . . but I don’t think I ever said directly, “Steve, I got to work with these guys.
                      You know, we got to work together, we’re a team, rallying the troops,” no I
22                    never said anything like that. I would never do that.
23            Q.      As best you recall, what was the substance of the language that you used
                      regarding the relationship that you had with the Gibson, Dunn lawyers?
24
              A.      Again, I think it was just regarding our relationship with them, was we were –
25                    you know, we obviously represent a former employee of theirs. I’m feeling
                      kind of pressured here at the 11th hour to make a decision to do something here.
26                    I think that was it. He may have interpreted that as, you know, we have to work
                      with – work with them because we’re being paid by them or whatever, which
27                    we weren’t so –
28

                                                          29
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 1    Mr. Ardoin attributes Mr. Williams as saying defense counsel was wrong on the issue of e-mail service
 2    of Mr. Anderssen’s deposition notice. According to Mr. Ardoin, Mr. Williams did not try to give Mr.
 3    Ardoin reasons for the deposition to proceed.
 4           As to the influence of a mediation on Mr. Anderssen’s deposition, Mr. Ardoin explained:
 5           Q.      So was the fact that there was a mediation scheduled a factor at all in
                     connection with your determination not to go forward –
 6
             A.      No.
 7
             Q.      – with the deposition?
 8
             A.      No, it wasn’t because – I think this was the first mediation and I – you know,
 9                   I think I concluded that just because a mediation is scheduled, it’s the first
                     mediation and I – you know, think I concluded that just because a mediation is
10                   scheduled, it’s the first mediation in a massive civil suit, you know, I doubted
                     that it was going to settle that day.
11
                     ...
12
             A.      . . . I think what [defense counsel] said was if the mediation is successful, you
13                   know, then you wouldn’t have to produce your client, not that they were trying
                     to persuade me that that was the reason but that, hey, look, you know, if it goes
14                   forward and we’re successful, then you don’t have to produce it, I think trying
                     to nudge me, but that wasn’t an overriding concern to me as to why to cancel
15                   the deposition.
16                   ...
17           Q.      . . . did anybody ever tell you that this matter was likely to settle at a mediation?
18           A.      No.
19           Q.      In fact, I think you testified that you never thought it was going to settle and that
                     wasn’t a factor in you canceling this, was it?
20
             A.      You have to be an idiot to think the thing would settle from the first try.
21
             Q.      Okay. And that was never a factor in connection with your not – with your
22                   cancellation of the deposition.
23           A.      No.
24           According to Mr. Ardoin, the “primary reason” to postpone Mr. Anderssen’s February 17, 2005
25    deposition was “I thought the rule applied to us and – and there was no written consent. You know,
26    I didn’t want to have to produce him twice, but that was kind of a secondary consideration, a secondary
27    reason. The primary reason was I didn’t think the rules had been followed.” Mr. Ardoin testified he
28    made the decision on his own to postpone Mr. Anderssen’s February 17, 2005 deposition.

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 1           Mr. Ardoin testified that Mr. Battaglia did “not directly” tell Mr. Ardoin not to produce Mr.
 2    Anderssen but that Mr. Battaglia’s objection to notice of Mr. Anderssen’s February 17, 2005
 3    deposition was “one of the main reasons” to cancel it. Mr. Ardoin further testified:
 4           Q.      Did [Mr. Battaglia], in the way that he was speaking to you, indirectly suggest
                     that it would be in the best interest of your client not to appear and take the
 5                   Fifth Amendment for the deposition the next day for the reasons he gave you?
 6                   ...
 7           A.      That’s – that’s a fair and accurate statement.
 8    Mr. Ardoin further testified:
 9           Q.      You felt the pressure of the objection. If it was an appropriate objection,
                     whether or not you had been served, you wanted to make sure that things went
10                   right so your witness would not go forward twice; is that right?
11                   ...
12           A.      That’s correct.
13    Mr. Ardoin denied that Mr. Battaglia told him not to produce Mr. Anderssen because Mr. Ardoin
14    received inadequate notice. Mr. Ardoin noted that neither Mr. Battaglia nor Mr. Hernandez suggested
15    they could address their objections with the Court.
16           Mr. Ardoin noted Mr. Battaglia did not indicate he had received the January 12 notice:
17           Q.      Did he ever say to you on either of these conversations that, in fact, this office
                     received actual notice in an E-mail on January 12, 2005 for a deposition that
18                   was dated February 17, 2005?
19           A.      No.
20           Q.      Would that have made a difference to you, sir?
21           A.      Yes.
22           Q.      Why?
23           A.      I would have produced him. The objection at this point was invalid.
24           Mr. Ardoin testified that to the best of his knowledge, Mr. Anderssen’s assertion of Fifth
25    Amendment rights was “well known to counsel” and made clear “from the beginning.” Mr. Ardoin
26    noted he had no “real world” experience with F.R.Civ.P. 5 prior to Mr. Anderssen’s deposition.
27                    Mr. Hernandez’ May 17, 2005 Evidentiary Hearing Testimony
28           At the May 17, 2005 evidentiary hearing, Mr. Hernandez testified that he received a January

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 1    13, 2005 e-mail from Mr. Battaglia with the January 12 notice for Mr. Anderssen’s deposition attached.
 2    Mr. Hernandez stated: “I received the email. I have no recollection of opening up the email, which
 3    would have had the deposition notice on it.” Mr. Hernandez noted that when he received the e-mail
 4    from Mr. Battaglia, he did not open it because he was aware of the reset deposition for Jay Cattermole,
 5    which he was covering and which was also reflected on the January 12 notice. Mr. Hernandez
 6    explained that Mr. Battaglia alerted him of Mr. Battaglia’s January 13, 2005 e-mail after the March
 7    30, 2005 evidentiary hearing and that Mr. Hernandez went back into his computer system and located
 8    the January 13, 2005 e-mail from Mr. Battaglia with the January 12 notice. According to Mr.
 9    Hernandez, he first learned on Mr. Anderssen’s February 17, 2005 deposition when he spoke with Mr.
10    Battaglia on February 16, 2005.
11           Mr. Hernandez noted that he participated with Mr. Battaglia in a telephone conversation with
12    Mr. Ardoin at about 2:15 p.m. on February 16, 2005. Mr. Hernandez recounted the conversation:
13           A.      . . . Mr. Battaglia carried the conversation. He advised Mr. Ardoin he was
                     getting back to him. That we had approached Gallo’s attorneys regarding the
14                   deposition, but we had been unsuccessful in resolving the matter. Therefore
                     Dave felt he had to register formal objections to the deposition going forward
15                   the next day.
16                   ...
17           Q.      What is it that – what else was said during the course of the conversation that
                     you recall?
18
             A.      Dave registered his objections to the deposition notice. He indicated that there
19                   had been improper service. That we had received only email service of the
                     deposition notice. And that there never – that the defendants had never
20                   consented to receiving deposition notices by email.
21                   He also indicated that the client who attends the deposition of all former
                     employees and current employees was in at – attended those depositions
22                   was not available because there was a mediation in the case on the 18th
                     and he was scheduled to meet with counsel on the 17th to prepare for
23                   that deposition. And that counsel for defendants were not in a position
                     to attend the deposition given that mediation.
24
             Q.      Now, during the course of that – was there anything else that you recall being
25                   said?
26           A.      The only other thing is that they felt that the deposition should be rescheduled
                     to a mutually convenient time where everybody could be in attendance.
27
             Q.      And what did Mr. Ardoin say about that?
28

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 1           A.      I don’t recall specifics of what Mr. Ardoin said, but generally I understood Mr.
                     Ardoin accepted those reasons and objections and that the deposition was going
 2                   to be rescheduled.
 3     Based on the conversation, Mr. Hernandez understood that Mr. Ardoin “agreed with the objections,
 4    he felt they were reasonable and the deposition should be rescheduled.” Mr. Hernandez acknowledged
 5    he was unprepared for Mr. Anderssen’s deposition and lacked materials, however, he had not been
 6    assigned Mr. Anderssen’s deposition.
 7           According to Mr. Hernandez, after the conversation with Mr. Battaglia and Mr. Ardoin, he and
 8    Mr. Maier had a three to four-minute conversation with court reporter Ms. Henderson:
 9           A.      . . . What I recall is Mr. Maier and I were talking as we came in to the
                     conference room to pack up and leave for he air – getting ready to leave for the
10                   airport. . . She was there and while I was talking with Mr. Maier, she seemed
                     interested when we were talking about some deposition tomorrow. She became
11                   part of the conversation and whether she interjected herself or we asked her, I
                     don’t know. But we started talking about a potential deposition the next day.
12
             Q.      And what were the words that you used?
13
             A.      I told her that we had just received notice of deposition that was scheduled
14                   tomorrow in this case. And that because of that, lack of notice, that we were
                     not in a position to attend.
15
                     ...
16
             Q.      What was her response, if any?
17
             A.      She – she seemed interested in whether there was a deposition tomorrow. I
18                   asked her, “Are you the court reporter who was scheduled to cover a deposition
                     in this case tomorrow?” And she said “No.”
19
                     ...
20
             Q.      And was there anything else that she said in that three to four minutes?
21
             A.      Yes. She asked – she asked me should she call – would I like her to call up the
22                   office to see if there was a deposition in this case on calendar. I said that would
                     be great. She then proceeded to call LegaLink’s office in Houston. She stated
23                   to the person on the other side, “Do we have a deposition on schedule in this
                     case?” She then turned around to Mr. Maier and me and told me “Yes, we have
24                   a deposition of Richard Anderssen scheduled for the 17th” and that it had been
                     just placed on the calendar the night before.”
25
26    Mr. Hernandez later testified:
27           Q.      From beginning to end, can you tell me what took place insofar as the
                     communications with Ms. Henderson at that time?
28

                                                         33
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 1          A.    Yes. I was talking with Eric and I don’t know who initiated, but I knew that
                  Ms. Henderson was interested in the topic that Eric and I were talking about.
 2                I explained to her that we had just received notice of a deposition for the next
                  day and that we were all surprised and that we were not in a position to attend.
 3                ...
 4                I then asked Ms. Henderson was she the court reporter who was
                  scheduled for a deposition in this case tomorrow and she said no. She
 5                said that she would call her office to see if there was a deposition
                  scheduled. And I said “thanks.” She then called the office and while
 6                speaking with the person on the other side of the line, she turned around
                  and communicated to Mr. Maier and myself that there was a deposition
 7                scheduled of Ric Anderssen for the 18th and that had just been put on
                  there that night.
 8
                  She then continued her conversation with the other person on the line
 9                and said that she was with attorneys with the case and that they were not
                  planning to attend the deposition. At that point in time, Mr. – Eric
10                interrupted her and said he wanted to make it very clear that we were
                  not canceling the deposition. I recall Ms. Henderson, at the end, saying
11                words to the effect that “you should contact our client who noticed this
                  deposition.”
12
            Q.    When you say you recall her saying words to the effect, to whom did she say
13                that?
14          A.    The person on the other line.
15          Q.    Did you ever know who that person was?
16          A.    Not at that time. But I do know it was Britney Jeffrey as of today.
17                ...
18          Q.    During that time, did you or Mr. Maier ever tell Ms. Henderson that you
                  represented Mr. Anderssen?
19
            A.    Absolutely not.
20
            Q.    Did you ever tell her that you were canceling the deposition.
21
            A.    No. To the contrary. She was advised we weren’t canceling the deposition, we
22                weren’t the party that noticed the deposition.
23          Q.    Did you ever tell her that the deposition was going to be canceled?
24          A.    No.
25          Q.    Did you tell her that, as far as you were concerned, the deposition was not going
                  forward?
26
            A.    No.
27
            Q.    Did she ever indicate to you in any manner, words or effect that she thought the
28                deposition was not going to go forward?

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 1
             A.     No.
 2
                    ...
 3
             A.     At no time did I ever advice Ms. Henderson that I would not be producing the
 4                  witness the next day.
 5           Q.     Did Mr. Maier ever advice Ms. Henderson of that fact.
 6           A.     Nor did Eric, no.
 7           Mr. Hernandez testified that at 2:48 p.m. on February 16, 2005, he and Mr. Battaglia had
 8    another telephone conversation with Mr. Ardoin of an estimate five to 10 minutes. Mr. Hernandez
 9    recounted:
10           Q.     Could you tell us, then, this second conversation that you had with Mr. Ardoin.
                    Tell us what you recollect was said during the course of that conversation?
11
             A.     Yes. Mr. Ardoin was put on the line. Dave proceeded to inquire whether this
12                  deposition was going forward or not. He then registered the previous
                    objections and formal objections that we had to the deposition going forward
13                  that being improper service. That we hadn’t consented to email service, that the
                    client was unavailable because of the mediation. There were attorneys in
14                  Houston, but they didn’t have materials there and they were heading home.
                    And that the deposition should be rescheduled.
15
                    During the course of the conversation, Dave was quoting from Rule 5
16                  regarding what proper service was. What I recall is Mr. Ardoin asking
                    for the specific citation of the rule Dave was quoting. Mr. Ardoin
17                  indicated that if the rule read as Dave was reading it to him, that the
                    deposition would be rescheduled to a different point in time. And that
18                  he would let all parties know of his decision later on.
19                  ...
20           Q.     In this second conversation, was the topic of the mediation in San Francisco
                    brought up?
21
             A.     Yes. In connection that the client was going to be in San Francisco on the 17th
22                  to prepare for the mediation on the 18th and that some of the lawyers from
                    Gibson, Dunn were going to be there with the client to prepare them for the
23                  deposition and attend the mediation.
24           Q.     Was there anything said in the second conversation about the fact that if the
                    mediation were successful, Mr. Ardoin’s client might not have to testify in this
25                  action?
26           A.     No, I don’t recall that being said.
27           Q.     Did Mr. Ardoin, in either conversation, ever say, “Well, if the mediation is
                    successful, maybe my client doesn’t have to testify?” Or words to that effect?
28

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 1           A.     No, I don’t recall that either.
 2                  ...
 3           Q.     Did Mr. Ardoin ever indicate, during the course of the call, that he felt like he
                    was being pressured to do something?
 4
             A.     No.
 5
             Q.     Did Mr. Battaglia, in either the first or the second call ever say that it was in
 6                  Mr. Ardoin’s client’s best interest to continue the deposition?
 7           A.     No, I don’t recall that being said.
 8           Q.     When you say “I don’t recall,” do you have any recollection at all that that topic
                    came up in any way?
 9
             A.     I have no recollection that that topic ever came up.
10
             ...
11
             Q.     Now, at the conclusion of this second conversation, do you – what was your
12                  understanding of what the status of the Anderssen deposition was?
13           A.     Mr. Ardoin had asked Dave for a citation to the rule. He had indicated that the
                    rule that Dave was quoting from, if Mr. Ardoin in his reading of that rule was
14                  the same, that the deposition would be rescheduled and the next – and the
                    deposition of the 17th would not go forward. And that he would let all parties
15                  know about his decision.
16           Mr. Hernandez testified he warned Mr. Williams not to seek sanctions for Mr. Hernandez’
17    cancellation of a court reporter for Mr. Anderssen’s February 17, 2005 deposition:
18           . . . Before this motion was even filed, I had advised – or Mr. Williams was advised on
             two separate occasions, including one telephone conversation he had with me that I did
19           not cancel the court reporter. I specifically advised him in a telephone conversation,
             when he said he was going to bring a motion for sanctions based upon what I – that I
20           told the court reporter cancel the deposition, that that was no true, to get his facts
             straight.
21
22    According to Mr. Hernandez, prior to filing Gallo’s sanctions motion, Mr. Williams did not indicate
23    he would seek reproval of Mr. Hernandez or Gibson, Dunn & Crutcher.
24           Mr. Hernandez denied that he called or tried to convince LegaLink to cancel Mr. Anderssen’s
25    deposition, that he advised Mr. Anderssen’s counsel that successful mediation might obviate Mr.
26    Anderssen’s testimony, and that he had spoken to Mr. Anderssen.
27                             Mr. Maier’s May 17, 2005 Hearing Testimony
28           Mr. Maier testified at the May 17, 2005 evidentiary hearing that he learned that Gallo sought

                                                          36
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 1    to take Mr. Anderssen’s February 17, 2005 deposition when on February 16, 2005, Gallo counsel Mr.
 2    Durbin mentioned the deposition was set. Mr. Maier noted that when he attempted to discuss
 3    rescheduling the Mr. Anderssen’s deposition, Mr. Durbin directed Mr. Maier to contact Mr. Williams.
 4    Mr. Maier also described the “casual conversation” among Mr. Hernandez, Mr. Maier and court
 5    reporter Ms. Henderson:
 6           A.     I recall that Ms. Henderson joined in to the conversation that was already in
                    progress.
 7
             Q.     Okay. And can you tell me, as best you recollect, what was said either in words
 8                  or effect?
 9                  ...
10           A.     Mr. Hernandez mentioned to Ms. Henderson that we had just received some
                    kind of notification that day that there was going to be a deposition the
11                  following day in this case. And we did not know about it. We were on our way
                    back to Los Angeles and we were not planning on attending this deposition.
12                  And he asked her whether or not she was scheduled to be a court reporter in this
                    case on the following day.
13
                    ...
14
             A.     Mr. Hernandez and I were discussing – I was telling him what I had told you
15                  just now about my conversation with Mr. Durbin and Mr. Pitre. And Ms.
                    Henderson expressed an interest when she heard something about a deposition
16                  the following day. And that’s how she became involved with this conversation
                    that was between Mr. Hernandez and me.
17
             Q.     Did you – were you present in the courtroom earlier today when Mr. Hernandez
18                  recounted that conversation?
19           A.     Yes.
20           Q.     Did Mr. Hernandez get it right, according to you recollection?
21           A.     Yeah, exactly.
22           Mr. Maier further described the conversation with Ms. Henderson:
23           Q.     Now, at some point you spoke to Mrs. Henderson while she was on the phone?
24           A.     That’s right.
25           Q.     Could you tell me what happened there and tell me in your own words what you
                    recall saying?
26
             A.     Ms. Henderson said in to the phone – well, she said that – she asked – she
27                  inquired whether there’s a deposition. And she turned to us and told us that
                    “There’s a deposition scheduled for Richard Anderssen tomorrow. It was just
28                  put on our calendar last night.” She then said into the phone, “Well, I’m here

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 1                   with some attorneys on the case and they didn’t receive notice of this deposition
                     and they’re not going to attend.
 2
                     Now, at that point, I wanted to make sure that although Ms. Henderson,
 3                   who we spent several days with, knew who we were, I didn’t want this
                     to be out of context for the person on the other end of the line. So I
 4                   said, “Ms. Henderson, please explain to the person on the other end of
                     the line that we are not the parties that noticed the deposition or
 5                   scheduled the deposition and we are not canceling the deposition.”
 6           Q.      And what did Ms. Henderson say into the phone, if you recall, at that time?
 7           A.      I don’t remember her exact words, but its was to the effect that “These attorneys
                     for opposing counsel or the other side, you should call the noticing party to
 8                   make sure the deposition is still going forward.”
 9           Q.      Do you recall whether Ms. Henderson used the term “cancel” in any respect?
10           A.      I don’t remember her using that word. And frankly, if she did, that’s something
                     that I would have remembered.
11
12    Mr. Maier acknowledged that he did not tell Ms. Henderson that his firm did not represent Mr.
13    Anderssen.
14                            Richard Levy’s May 17, 2005 Hearing Testimony
15           At the May 17, 2005 evidentiary hearing, Richard Levy (“Mr. Levy”) of Gibson, Dunn &
16    Crutcher described himself as the “primary partner in charge” for the defense. Mr. Levy testified as
17    to what he described as inconsistencies with Mr. Ardoin’s testimony:
18           Q.      And what conversation did you have with Mr. Ardoin specifically on that topic?
19           A.      On the 26th of March, I asked him if he was told by anyone from Gibson, Dunn
                     & Crutcher, specifically referring to Mr. Battaglia and Mr. Hernandez, that if
20                   the mediation resulted in a settlement, that his witness might not have to testify.
                     He had previously told me that he was informed that there was a mediation
21                   scheduled, that it had to do – it was going to go forward on the Friday. People
                     had to go for – on Thursday to go to San Francisco to prepare. I asked him the
22                   followup question.
23           Q.      What was the followup question?
24           A.      Whether or not he was ever told that in the event that it settled, his witness
                     would not have to testify.
25
             Q.      What did he say?
26
             A.      He said no, he was not told that. That he concluded that from the conversation
27                   simply because he was told about the scheduling.
28

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 1                                  Ms. Henderson’s Deposition Testimony
 2           The parties deposed Ms. Henderson on April 22, 2005 in Houston. As to her February 16, 2005
 3    conversation with Mr. Hernandez and Mr. Maier regarding Mr. Anderssen’s February 17, 2005
 4    deposition and her subsequent telephone conversation with her office, Ms. Henderson testified:
 5           A.       Okay. There was verbiage that there was a deposition the next day. My
                      understanding was there wasn’t. I had a doctor’s appointment. I asked them,
 6                    you know, there’s one tomorrow for sure, something, and they said yes, but they
                      were not attending because they had not received adequate notice.
 7
                      I called my office and said, “Did y’all know there’s supposed to be a
 8                    deposition tomorrow?” The response was, “it was just put on.”
 9                    And I said, “The other attorneys are not going to be there.”
10                    “Oh, okay. Well, we don’t know about that.”
11                    And I said, “you need to contact California [LegaLink] and make sure
                      that this is going forward and that they know that opposing counsel is
12                    not going to be there,” because if the deposition was not going forward,
                      then I could go to the doctor. If it was going to go forward, then I had
13                    to cancel my doctor’s appointment to be able to report the deposition.
14                    ...
15           Q.       Now, during that conversation with your office, did you have a – did you sort
                      of say – did you have a separate conversation while you were still on the phone
16                    with the attorneys that were still in the room, Mr. Hernandez and Mr. Maier?
17           A.       My memory is after I talked to the office to confirm that we did have it
                      scheduled the next day, I told them, yes, we had it scheduled. It had just been
18                    recently put on and that the Gallo people were not booking the deposition
                      directly with Houston, they were doing it through our California office so there
19                    could be some time lag as far as time zones. . . .
20           Ms. Henderson testified she did not tell Ms. Jeffrey, LegaLink’s calendar manager in Houston,
21    that Mr. Hernandez or Mr. Maier canceled Mr. Anderssen’s February 17, 2005 deposition in that
22    “[t]hey could not cancel a deposition they had not set. . . . I would not have said, ‘Cancel the
23    deposition.’”
24           Ms. Henderson noted she spoke to Gallo counsel on February 16, 2005 but does not recall
25    whether the counsel was Mr. Williams. As to that conversation, Ms. Henderson testified:
26                    . . .Now, what is it that you told whoever it is you spoke to on the phone
                      about your recollection of the discussions that you had that day with the
27                    – Mr. Maier, Mr. Hernandez and your office?
28           A.       Okay. The discussion I had was based on my memory at the time which was

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 1                   I was packing up, deposition was scheduled, didn’t know about it, Mr.
                     Hernandez, Mr. Maier were not going to be there and I apparently said that they
 2                   were not going to produce the witness because that was my memory at the time.
 3           Q.      Did you tell them Mr. Hernandez had canceled any depositions?
 4           A.      I don’t remember using the word “canceled.” I simply remember saying they
                     weren’t going to appear because of notice, they weren’t going to appear because
 5                   of sufficient notice.
 6                   ...
 7           Q.      And you knew that Mr. Hernandez and Gibson, Dunn & Crutcher were not the
                     ones that set the deposition. Is that what you’re saying?
 8
             A.      That was my understanding.
 9
10    Ms. Henderson does not recall if anyone from Gallo asked if Mr. Hernandez canceled the deposition.
11           Ms. Henderson later testified she assumed Mr. Hernandez and Mr. Maier represented Mr.
12    Anderssen:
13           Q.      Do you ever recall Mr. Hernandez or Mr. Maier telling you that they
                     represented the witness?
14
             A.      No, sir. That was an assumption on my part.
15
             Q.      And, in fact, when you thought about what you had said before, did you realize
16                   that they didn’t – did not, as far as you knew, represent the witness?
17           A.      After reviewing the appearance pages from the depositions, I then remembered
                     they did not represent the witnesses.
18
19           Ms. Henderson noted that when she signed her March 15, 2005 declaration, she believed its
20    content was accurate: “This first declaration was my best recollection at the time.” In response to Mr.
21    Williams’ question whether he asked Mr. Henderson “to say anything in particular,” Mr. Henderson
22    explained: “. . . I gave you my memory of they weren’t going to appear following with to produce the
23    witness, which were not your words, were my words, based on the way it normally happens. You
24    normally don’t have witnesses represented by attorneys.” Ms. Henderson testified that her March 17,
25    2005 e-mails and her March 17, 2005 declaration are correct. As to her March 17, 2005 declaration,
26    Ms. Henderson noted:
27           I had rethought it, pulled up appearance pages because my first impression was the
             focus was on whether they were going to appear because of notice or no notice. After
28           Mr. Maier’s proposed declaration, it became clear to me that the words “producing a

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 1            witness or not producing a witness,” which prompted me to pull up appearance pages,
              review it all and realize Mr. Patterson had been representing the witness in this
 2            [February 16, 2005] round of depositions.
 3            Ms. Henderson stated she did not speak to anyone from Gibson, Dunn & Crutcher between
 4    February 16, 2005 and her deposition.
 5                                   Ms. Jeffrey’s Deposition Testimony
 6            At her April 22, 2005 deposition in Houston, Ms. Jeffrey, the Houston LegaLink deposition
 7    calendar manager, recounted her February 16, 2005 telephone conversation with Ms. Henderson, who
 8    was concerned that attorneys said they had insufficient notice:
 9            A.     She said she was – she had just finished up a deposition for that day in this case
                     and she wanted to let me know that some of the attorneys there had told her that
10                   due to insufficient notice, there was a – it was likely that they would not be
                     appearing at a deposition the following day and she wanted me to make – to
11                   check and see if we had something scheduled on our calendar for the next day.
                     I said, yes, we did and she just wanted to – me to check with our client in San
12                   Francisco and our Legalink office in San Francisco to confirm it was still going.
13            Q.     Okay. After Ms. Henderson made this phone call to you, you then called the
                     San Francisco office of Legalink; is that correct?
14
              A.     Yes, that’s correct.
15
              Q.     And you spoke to someone there named Chad; is that correct?
16
              A.     Yes, that’s correct.
17
              Q.     And you asked Chad to contact the office of the attorneys who noticed the
18                   deposition; is that correct?
19            A.     Correct, uh-huh.
20            Q.     Do you recall the exact words that you had with Chad when you spoke to him?
21            A.     I told him that our court reporter had been informed by some attorneys at the
                     deposition that due to insufficient notice of the deposition, that it was likely
22                   they would not be attending the following day and that we needed to check and
                     see if, in fact, it was still going and – just to make sure so we would know for
23                   the books the next day what we needed to assign.
24    Ms. Jeffrey testified that later, at around 4:30 p.m. on February 16, 2005, Mr. Williams telephoned her
25    to confirm and clarify a deposition was scheduled for the following day.
26            As to Mr. Hernandez’ purported cancellation of the Mr. Anderssen’s deposition, Ms. Jeffrey
27    testified:
28            Q.     Did [Ms. Hendeson] ever tell you in that one conversation you had on February

                                                        41
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 1                  16th that Rory Hernandez was canceling the deposition?
 2           A.     No, not that I recall.
 3           Q.     You’re pretty sure of that?
 4           A.     Yes.
 5                  ...
 6           Q.     Did you ever tell Mr. Williams or anyone from the Cotchett, Pitre firm that
                    Rory Hernandez canceled the deposition?
 7
             A.     No.
 8
 9                                           Gallo’s Sanctions Motion
10           Mr. Williams appeared in Houston for the February 17, 2005 deposition at which Mr.
11    Anderssen did not appear. Mr. Anderssen’s deposition was reset for and taken on April 6, 2005.
12           With its sanctions motion, Gallo seeks:
13           1.     A terminating sanction against defendants as a result of their continuing discovery
14                  obstruction and abuse and including striking defendants’ answer or responsive pleading
15                  to Gallo’s first amended complaint;
16           2.     An issue sanction that:
17                  a.      Mr. Anderssen was defendants’ employee during August 16, 1999 to 2002;
18                  b.      During his employment, Mr. Anderssen: (1) engaged in wash trading for
19                          defendants with other natural gas companies; (2) exchanged present and future
20                          prices at which defendants bought and sold natural gas with other natural gas
21                          companies; and (3) engaged in and assisted to report false information to trade
22                          indices to reflect what purportedly were natural gas transactions engaged in by
23                          defendants;
24                  c.      Such actions of Mr. Anderssen caused prices charged to consumers for natural
25                          gas at PGE Citygate and in California to increase during 2000 and 2001; and
26                  d.      As a result of such actions of Mr. Anderssen, prices to consumers, including
27                          Gallo, of natural gas at PGE Citygate were increased over prices that would
28                          have been charged but for such actions.

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 1               3.     An evidence sanction that recordings of Mr. Anderssen’s telephone conversations are
 2                      admissible at trial and in connection with law and motion activity;
 3               4.     An evidence sanction to preclude defendant to introduce evidence or argument to rebut
 4                      such admissibility or anything said in Mr. Anderssen’s recorded telephone
 5                      conversations;
 6               5.     A monetary sanction to reimburse Gallo’s fees and expenses to travel to Houston for
 7                      Mr. Anderssen’s deposition;
 8               6.     A monetary sanction to reimburse this Court for its time and expenses to repeatedly
 9                      address the discovery misconduct and obstruction of defendants and defense counsel;
10                      and
11               7.     Reproval of Mr. Hernandez and other counsel who convinced Mr. Anderssen’s counsel
12                      to refuse to produce Mr. Anderssen.
13               Gallo further seeks to recover $169,736.2216 from defendants for legal fees and costs to pursue
14    its sanctions motion and to prepare for and conduct the evidentiary hearings and related discovery.
15    With its original opposition papers, defendants sought to impose a $16,000 sanction against Gallo to
16    oppose its sanctions motion based on devotion of 65 hours to prepare its initial opposition papers.
17    With its post-evidentiary hearing briefing, defendants seek to impose a $250,000 sanction against Gallo
18    for legal fees and expenses to prepare for and conduct the evidentiary hearings and related discovery.
19    Defendants base their fees on a $350 partner hourly billing rate and a $250 associate hourly billing rate
20    and claim that their fees would exceed $500,000 if customary hourly rates were used.
21                                                      DISCUSSION
22               This Court has a duty to supervise the conduct of attorneys appearing before it. Erickson v.
23    Newmar Corp., 87 F.3d 298, 301 (9th Cir. 1996); Lokary v. Kayfetz, 974 F.2d 1166, 1170 (9th Cir.),
24    cert. denied, sub. nom., Pacific Legal Foundation v. Kayfetz, 508 U.S. 931, 113 S.Ct. 2397 (1993);
25    Trust Corp. of Montana v. Piper Aircraft Corp., 701 F.2d 85, 87 (9th Cir. 1983). The Ninth Circuit
26    Court of Appeals has observed:
27
28          16
                       The figure comprises fees of $155,314.50 and costs of $14,421.72.

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 1                 Whenever an allegation is made that an attorney has violated his moral and ethical
                   responsibility, an important question of professional ethics is raised. It is the duty of
 2                 the district court to examine the charge, since it is that court which is authorized to
                   supervise the conduct of the members of its bar. The courts, as well as the bar, have
 3                 a responsibility to maintain public confidence in the legal profession.
 4    Gas-A-Tron of Ariz. v. Union Oil Co., 534 F.2d 1322, 1324-1325 (9th Cir.), cert. denied sub nom. Shell
 5    Oil Co. v Gas-A-Tron of Ariz., 429 U.S. 861, 97 S.Ct. 164 (1976).
 6                 The determination to sanction is subject to a court’s sound discretion. See Dahl v. City of
 7    Huntington Beach, 84 F.3d 363, 367 (9th Cir. 1996); Wages v. Internal Revenue Service, 915 F.2d
 8    1230, 1235 (9th Cir.), cert. denied, 489 U.S. 1096, 111 S.Ct. 986 (1991); Erickson v. Newmar Corp.
 9    87 F.3d 298, 303 (9th Cir. 1996). “For a sanction to be validly imposed, the conduct in question must
10    be sanctionable under the authority relied on.” Cunningham v. County of Los Angeles, 879 F.2d 481,
11    490 (9th Cir.) (internal quotations omitted), cert. denied, 493 U.S. 1035, 110 S.Ct. 757 (1990).
12                 To seek sanctions, Gallo relies on several federal statutes and this Court’s Local Rules and
13    inherent powers.
14                                                           Local Rules
15                 Federal judges have broad powers to impose sanctions for abuses of process. Gas-A-Tron, 534
16    F.2d at1324-1325. The sources of power to sanction include federal statutes and procedural rules, local
17    rules, and a court’s inherent power. For instance, this Court’s Local Rule 11-110 provides: “The
18    failure of counsel or of a party to comply with these Rules or with any order of the Court may be
19    grounds for imposition by the Court of any and all sanctions authorized by statute or Rule or within
20    the inherent power of the Court.”
21                 This Court’s Local Rule 83-184(a) addresses attorney discipline and provides:
22                        In the event any attorney subject to these Rules engages in conduct that may
                   warrant discipline or other sanctions, any Judge or Magistrate Judge may initiate
23                 proceedings for contempt under 18 U.S.C. § 401 or Fed. R. Crim. P. 42,17 or may, after
                   reasonable notice and opportunity to show cause to the contrary, take any other
24                 appropriate disciplinary action against the attorney. In addition to or in lieu of the
                   foregoing, the Judge or Magistrate Judge may refer the matter to the disciplinary body
25                 of any Court before which the attorney has been admitted to practice.
26
              17
                         18 U.S.C. § 401 authorizes a fine or imprisonment, at a court’s discretion, for contempt of its autho rity,
27   and for misbehavior o f any person in the court’s presence “o r so near there to as to obstruct the administration o f justice.”
     F.R.Crim.P. 42(b) punishes as c riminal contempt conduct which a “judge saw or heard . . . or [] committed in the actual
28   prese nce o f the cou rt.”

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 1            Neither this Court’s Local Rules nor the Federal Rules of Civil Procedure clearly define “other
 2    appropriate disciplinary action” for attorney conduct short of criminal contempt. Nonetheless, federal
 3    judges have an “arsenal of sanctions” to impose for unethical behavior and including monetary
 4    sanctions, contempt, dismissal and disqualification of counsel. Erickson, 87 F.3d at 303. The
 5    California Rules of Professional Conduct and the State Bar Rules of California may also provide
 6    appropriate sanctions. See Local Rule 83-180(e) (adopting California Rule of Professional Conduct
 7    and applicable court decisions as standards of professional conduct in this district).
 8            Under California law, an attorney may use only methods “as are consistent with truth, and never
 9    seek to mislead the judge or any judicial officer by an artifice or false statement of fact or law.” Cal.
10    Bus. & Prof. Code, § 6068(d). “In presenting a matter to a tribunal, a member: (A) Shall employ, for
11    the purpose of maintaining the causes confided to the member such means only as are consistent with
12    truth; (B) Shall not seek to mislead the judge, judicial officer, or jury by an artifice of false statement
13    of fact or law.” Cal. Rules of Professional Conduct, Rule 5-2000.
14                                                28 U.S.C. § 1927
15            28 U.S.C. § 1927 (“section 1927") addresses counsel’s liability for excessive costs and
16    provides: “Any attorney or other person admitted to conduct cases in any court of the United States .
17    . . who so multiplies the proceedings in any case unreasonably and vexatiously may be required by the
18    court to satisfy personally the excess costs, expenses, and attorneys’ fees reasonably incurred because
19    of such conduct.” The decision to award section 1927 sanctions rests in a court’s sound discretion.
20    Wages, 915 F.2d at 1235.
21            Section 1927 “applies only to unnecessary filings and tactics once a lawsuit has begun.” In re
22    Keegan Management Co. Sec. Litig. (Keegan Management Co. v. Moore), 78 F.3d 431, 435 (9th Cir.
23    1995). “Vexatious” is defined as “lacking justification and intended to harass.” Overnight Transp.
24    Co. v. Chicago Ind. Tire Co., 697 F.2d 789, 795 (7th Cir. 1983).
25            Section 1927 sanctions must be based on a finding that the sanctioned attorney acted in
26    subjective bad faith. United States v. Blodgett, 709 F.2d 608, 610 (9th Cir. 1983); New Alaska
27    Development Corp. v. Guetschow, 869 F.2d 1298, 1306 (9th Cir. 1989). “Bad faith is present when an
28    attorney knowingly or recklessly raises a frivolous argument, or argues a meritorious claim for the

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 1    purpose of harassing an opponent.” West Coast Theater Corp. v. City of Portland, 897 F.2d 1519,
 2    1528 (9th Cir. 1990) (citing Cunningham v. County of Los Angeles, 879 F.2d 481, 490 (9th Cir. 1988));
 3    New Alaska, 869 F.2d at 1306; see Keegan Management, 78 F.3d at 436; Salstrom v. Citicorp Credit
 4    Serv., Inc., 74 F.3d 183 (9th Cir.), cert. denied, sub nom., Webb v. Citicorp Credit Serv. Inc., 117 S.Ct.
 5    60 (1996); MGIC Idemnity v. Moore, 952 F.2d 1120 (9th Cir. 1991); Toombs v. Leone, 777 F.2d 465
 6    (9th Cir. 1985) (court need not make express findings as to counsel’s state of mind because record
 7    contained sufficient evidence to support decision); see also Byrne v. Nezhat, 261 F.3d 1075, 1106 (9th
 8    Cir. 2001) (“under section 1927 attorneys are obligated to avoid dilatory tactics throughout the entire
 9    litigation”); Shafii v. British Airways, PLC, 83 F.3d 566, 569 (2nd Cir. 1996) (sanction warranted if
10    meritless actions lead to conclusion that they were undertaken for improper purposes, such as delay).
11
12           In Blodgett, 709 F.2d at 610-611, the Ninth Circuit Court of Appeals explained section 1927's
13    limitations:
14           Section 1927 only authorizes the taxing of excess costs arising from an attorney’s
             unreasonable and vexatious conduct; it does not authorize imposition of sanctions in
15           excess of costs reasonably incurred because of such conduct. Similarly, cases that have
             considered the district court’s inherent power to sanction attorneys for litigating in bad
16           faith have related such sanctions to the amount of fees incurred by the opposing
             counsel, and have not based sanctions on increased costs experienced by the court.
17
18           Section 1927 sanctions cannot be imposed on non-attorneys. Zaldivar v. City of Los Angeles,
19    780 F.2d 823, 831 (9th Cir. 1986).
20                                                Inherent Power
21           In addition, federal courts have inherent power to impose sanctions for attorney misconduct and
22    such sanctions include an award of attorney’s fees, against attorneys and parties for “bad faith” conduct
23    or “willful disobedience” of a court order. Chambers v. NASCO, Inc., 501 U.S. 32, 43, 111 S.Ct. 2123,
24    2132 (1991); Roadway Express, Inc. v. Piper, 447 U.S. 752, 764-766, 100 S.Ct. 2455, 2463-2464
25    (1980); In re Akros Installations, Inc., 834 F.2d 1526, 1532 (9th Cir. 1987); see Republic of Philippines
26    v. Westinghouse Elec. Corp., 43 F.3d 65, 73 (3rd Cir. 1995). A district court is also inherently
27    empowered to sanction for “willfulness or fault of the offending party.” Halaco Eng’g Co. v. Costle,
28    843 F.2d 376, 380 (9th Cir. 1988); Unigard Sec. Ins. v. Lakewood Engineering & Mfg., 982 F.2d 363,

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 1    368, n. 2 (9th Cir. 1992). A district court has inherent power to “impose sanctions for discovery abuses
 2    that may not be a technical violation of the discovery rules.” Halaco, 843 F.2d at 380; Lewis v.
 3    Telephone Employees Credit Union, 87 F.3d 1537, 1557-1558 (9th Cir. 1996). However, recklessness
 4    “is an insufficient basis for sanctions under a court’s inherent power.” Keegan Management, 78 F.3d
 5    at 436. Sanctions imposed under a court’s inherent powers require a finding of bad faith. Chambers,
 6    501 U.S. at 55, 111 S.Ct. 2123.
 7           A court’s inherent powers “are governed not by rule or statute but by the control necessarily
 8    vested in courts to manage their own affairs so as to achieve the orderly and expeditious disposition
 9    of cases.” Chambers, 501 U.S. at 43, 111 S.Ct. at 2132. Such inherent power “is not a broad reservoir
10    of power, ready at an imperial hand, but a limited source; an implied power squeezed from the need
11    to make the court function.” Chambers, 501 U.S. at 42; 111 S.Ct. at 2123.
12           “Bad faith” means a party or counsel acted “vexatiously, wantonly or for oppressive reasons.”
13    Chambers, 501 U.S. at 45-46, 111 S.Ct. at 2133; see Alyeska Pipeline Service Co. v. Wilderness
14    Society, 421 U.S. 240, 258-259, 95 S.Ct. 1612, 1622 (1975). Bad faith “does not require that the legal
15    and factual basis for the action prove totally frivolous; where a litigant is substantially motivated by
16    vindictiveness, obduracy, or mala fides, the assertion of a colorable claim will not bar assessment of
17    attorneys’ fees.” Mark Ind., Ltd. v. Sea Captain’s Choice, Inc., 50 F.3d 730, 732 (9th Cir. 1995)
18    (internal quotation marks and citations omitted). Bad faith is tested objectively. “[A] district court’s
19    finding of bad faith or the absence of bad faith in a particular case is a factual determination and may
20    be reversed only if it is clearly erroneous.” Ford v. Temple Hosp., 790 F.2d 342, 347 (3rd Cir. 1986);
21    see Baker v. Cerberus, Ltd., 764 F.2d 204, 210 (3rd Cir. 1985); Perichak v. International Union of Elec.
22    Radio, 715 F.2d 78, 79 (3rd Cir. 1983). There must be “some indication of an intentional advancement
23    of a baseless contention that is made for an ulterior purpose, e.g., harassment or delay.” Ford, 790
24    F.2d at 347.
25           When exercising inherent powers to sanction, a court must exercise discretion to fashion an
26    appropriate remedy. Erickson, 87 F.3d at 303 (citing Chambers, 501 U.S. at 44-45.) When exercising
27    discretion under its inherent sanction powers, a court is guided by considerations applicable to
28    sanctions under the Federal Rules of Civil Procedure. Factors to consider include:

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 1           1.      The nature and quality of the conduct at issue;
 2           2.      As between attorney and client, who is responsible for the culpable conduct;
 3           3.      Whether there was a pattern of wrongdoing to require a stiffer sanction;
 4           4.      The sanctioned party’s ability to pay;
 5           5.      Whether the wrongdoing actually prejudiced the wrongdoer’s opponent or hindered the
 6                   administration of justice; and
 7           6.      The existence of mitigating factors.
 8    Westinghouse, 43 F.3d at 74.
 9           Under its inherent authority, a court may impose sanctions on counsel or a party. See Roadway
10    Express, 447 U.S. at 767, 100 S.Ct. 2455. An attorney’s fee award under a court’s inherent power is
11    intended to vindicate judicial authority, not to provide a substantive remedy to an aggrieved party.
12    “The wrong was to the court.” Mark Industries, 50 F.3d at 733.
13                                           Terminating Sanctions
14           A terminating sanction, including dismissal or default, is “so harsh a penalty it should be
15    imposed as a sanction only in extreme circumstances.” Thompson v. Housing Authority of City of Los
16    Angeles, 782 F.2d 829, 831 (9th Cir.), cert. denied, 479 U.S. 829, 107 S.Ct. 112 (1986). To determine
17    whether to impose a severe sanction of dismissal or default, a court considers:
18           1.      The public’s interest in expeditious resolution of litigation;
19           2.      The court’s need to manage its docket;
20           3.      The risk of prejudice to the party seeking sanctions;
21           4.      The public policy favoring disposition of cases on their merits; and
22           5.      The availability of less drastic sanctions.
23    Valley Engineers, Inc. v. Electric Engineering Co., 158 F.3d 1051, 1057 (9th Cir. 1998), cert. denied,
24    526 U.S. 1064, 119 S.Ct. 1455 (1999); In re Exxon Valdez, 102 F.3d 429, 433 (9th Cir. 1996); Henry
25    v. Gill Industries, Inc., 983 F.2d 943, 948 (9th Cir. 1993); United States v. Kahaluu Constr. Co., Inc.,
26    857 F.2d 600, 603 (9th Cir. 1988); Thompson, 782 F.2d at 831.
27           “What is most critical for case-dispositive sanctions, regarding risk of prejudice and of less
28    drastic sanctions, is whether the discovery violations ‘threaten to interfere with the rightful decision

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 1    of the case.’” Valley Engineers, 158 F.3d at 1057 (quoting Adriana International Corp. v. Thoeren,
 2    913 F.2d 1406, 1412 (9th Cir. 1990), cert. denied, 498 U.S. 1109, 111 S.Ct. 1019 (1991)).
 3                                               Prior Misconduct
 4            To evaluate the propriety of sanctions, a court looks “at all incidents of the party’s misconduct.”
 5    Adriana International Corp. v. Thoeren, 913 F.2d 1406, 1411 (9th Cir. 1990); see, e.g., Kahaluu
 6    Construction Co., 857 F.2d 600, 601-602 (9th Cir. 1988) A court may consider prior misconduct to
 7    weigh a subsequent sanction motion. Adriana International, 913 F.2d at 1411; Halaco Engineering,
 8    843 F.2d at 381, n. 2. For instance, “[b]elated compliance with discovery orders does not preclude the
 9    imposition of sanctions.” North American Watch Corp. v. Princess Ermine Jewels, 786 F.2d 1447,
10    1451 (9th Cir. 1986).
11            With these standards in mind, the Court turns to issues raised by the parties.
12                               Service Of Mr. Anderssen’s Deposition Notice
13            On July 20, 2004, Gallo served by first-class mail its notice to set Mr. Anderssen’s August 17,
14    2004 deposition. By agreement with Mr. Ardoin, Mr. Anderssen’s deposition was reset to February
15    17, 2005, and on January 12, 2005, Gallo served by e-mail a notice to reset the deposition. Gallo
16    served by e-mail two additional notices to reset the deposition, which was ultimately set for February
17    17, 2005 at 12 p.m. in a Houston hotel conference room.
18            Gallo contends that the issue of e-mail service is a “pretext.” Gallo points to this Court’s Local
19    Rule 5-135(g)(1) which addresses consent to e-mail service: “Unless an attorney opts out by
20    designating such on the registration form, registration as a filing user constitutes: (1) consent to receive
21    service electronically and waiver of the right to receive service by first class mail pursuant to Fed. R.
22    Civ. P. Rule 5(b)(2)(D).” Gallo notes that defense counsel (Mr. Battaglia) registered on this Court’s
23    CM/ECF system, did not opt out of e-mail service and thus consented to receive e-mail service without
24    mail or personal service. Gallo contends that defense counsel’s delay until late February 16, 2005 to
25    challenge the deposition notice equates to obstruction and that since Mr. Anderssen was subject to
26    subpoena, service on him of a deposition notice was unnecessary.
27            Defendants respond that registration with the CM/ECF system “does not waive a party’s right
28    to receive service of all documents for which service is required by Fed.R.Civ.P. 5. Registering for

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 1    the ECF system only waives a party’s right to receive mail service of documents that are filed with the
 2    Court through the ECF system.” Defendants further contend that the CM/ECF “system clearly was
 3    designed for filed documents; it does not relate to non-filed discovery materials.”
 4           F.R.Civ.P. 5(a) provides “every paper relating to discovery required to be served upon a party
 5    . . . shall be served upon each of the parties.” F.R.Civ.P. 5(b)(2)(D) authorizes service by “[d]elivering
 6    a copy by any other means, including electronic means, consented to in writing by the person served.
 7    Service by electronic means is complete on transmission . . . If authorized by local rule, a party may
 8    make service under this subparagraph (D) through the court’s transmission facilities.” F.R.Civ.P.
 9    5(b)(2)(D) “authorizes service by electronic means or any other means, but only if the consent is
10    obtained from the person served. The consent must be express, and cannot be implied from conduct.”
11    F.R.Civ.P. 5 Adv. Comm. Notes (2001).
12           Gallo points to no specific writing by which defendants consented to e-mail service and relies
13    on defense counsel’s use of this Court’s CM/ECF system. Although Mr. Williams claims there is a
14    written agreement to e-mail service, he admits he cannot locate it. Nonetheless, there are grounds to
15    support Gallo’s position and to negate defendants’ position on e-mail service. Local Rule 5-135(g)(1)
16    carves out an exception only for service of a summons and complaint, not for discovery papers. In
17    other words, Local Rule 5-135(g)(1) prohibits electronic service of only a summons and complaint.
18    Defendants’ position is questionable in that some documents in litigation (i.e., those filed with the
19    Court) could be served electronically but others (i.e., those not filed with the Court) could not be
20    served electronically and would require further first-class mail or personal service. Moreover, this
21    Court’s Electronic Case File System (ECF) Registration form explains:
22           Unless an attorney expressly declines to consent . . ., registration as a Filing User
             constitutes: (1) consent to receive service electronically and waiver of the right to
23           receive service by first class mail pursuant to Federal Rule of Civil Procedure
             5(b)(2)(D); (2) consent to electronic service and waiver of the right to service by
24           personal service or first class mail pursuant to Federal Rule of Civil Procedure
             5(b)(2)(D). Note: Service of Summons and Complaint pursuant to Federal Rule
25           of Civil Procedure 4 are not encompassed by electronic service. Waiver of service
             and notice by first class mail applies to notice of the entry of an order or judgment. . .
26           .
27                   ...
28           . . . An attorney may expressly forego consenting to service and receipt of filed

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 1           documents by electronic service pursuant to Federal Rule of Civil Procedure
             5(b)(2)(D). This decision not to consent must be by separate document in writing
 2           addressed to the Office of the Clerk. Parties not consenting to electronic service must
             serve and be served by the other methods specified in Rule 5. (Bold in original.)
 3           In their original opposition papers, defendants contend they did not receive “actual notice” of
 4    Mr. Anderssen’s deposition until February 16, 2005, the day before it was scheduled to proceed,
 5    because of the ineffectual electronic service.            During his hearing testimony, Mr. Battaglia
 6    acknowledged the January 12 notice was received on Mr. Battaglia and Mr. Hernandez’ computer
 7    system and that Mr. Battaglia “reviewed it” and sent it to Mr. Hernandez and Mr. Shoch. There is no
 8    issue that defense counsel received the January 12 notice by e-mail, and there no evidence defendants
 9    objected to the January 12 notice. Travel and logistics problems caused Mr. Anderssen’s deposition
10    to be set later in the day of February 17, 2005 and at a different location to require additional amended
11    notices, including one e-mailed to Mr. Battaglia on February 11, 2005. Defendants challenge the
12    January 12 and later notices to move the deposition later in the day of February 17, 2005 and its
13    location, the latter is a matter over which Gallo had no control. Defendants’ arguments of improper
14    notice are unpersuasive, given defense counsel’s acknowledgment of receipt of the January 12 notice
15    and failure to address it until February 16, 2005.
16           As a fallback position, defendants argue that “even if defense counsel’s interpretation of the
17    Local Rule were incorrect, it was a reasonable interpretation.” To support their position, defendants
18    provided declarations of 11 attorneys who practice in this Court to the effect that attorney registration
19    with the CM/ECF system waives the right to first-class mail and/or personal service for Court filed
20    documents but not to non-filed documents, such as those pertaining to discovery. As discussed below,
21    the effects of e-mail service and the reasonableness of defense counsel’s understanding of the effects
22    of CM/ECF registration is not this Court’s focus. Defendants neither formally objected to Mr.
23    Anderssen’s February 17, 2005 deposition nor sought a protective order and such failure is
24    commensurate to waiver of notice objections. Defendants fail to explain meaningfully why they did
25    not pursue such action. The key issue is defense counsel’s actions on February 16, 2005 to address Mr.
26    Anderssen’s deposition.
27                              Interference With Mr. Anderssen’s Deposition
28           Gallo argues that despite deposition notice concerns, defense counsel was not entitled to

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 1    persuade Mr. Ardoin to cancel Mr. Anderssen’s February 17, 2005 deposition. Gallo equates such
 2    action to criminal conduct and points to 18 U.S.C. § 1512(b) which prohibits witness tampering as to:
 3                   (b) Whoever knowingly . . . or corruptly persuades another person, or attempts
             to do so, or engages in misleading conduct toward another person, with intent to –
 4
                             (1) influence, delay, or prevent the testimony of any person in
 5                   an official proceeding;
 6                           (2) cause or induce any person to –
 7                          (A) withhold testimony, or withhold a record, document, or
                     other object, from an official proceeding;
 8
                             ...
 9
                            (C) evade legal process summoning that person to appear as a
10                   witness, or to produce a record, document, or other object, in an official
                     proceeding; or
11
                            (D) be absent from an official proceeding to which such person
12                   has been summoned by legal process . . .
13           In addition, Gallo points to California Penal Code section 136.1 which renders witness
14    intimidation criminal, including when a person:
15                  (1) Knowingly and maliciously prevents or dissuades any witness or victim
             from attending or giving testimony at any trial, proceeding, or inquiry authorized by
16           law.
17                   (2) Knowingly and maliciously attempts to prevent or dissuade any witness or
             victim from attending or giving testimony at any trial, proceeding, or inquiry authorized
18           by law.
19           Gallo contends Mr. Anderssen’s deposition must not be considered an isolated incident and
20    must be viewed as defendants and defense counsel’s continuing abuse, harassment and obstruction
21    throughout this litigation.
22           Defendants argue Gallo “has not and cannot make a showing of any improper conduct against
23    defendants or their counsel.” Defendants claim that defense counsel had no direct contact with Mr.
24    Anderssen and that Mr. Ardoin independently decided not to produce Mr. Anderseen on February 17,
25    2005. Defendants point out that defense counsel explained to Mr. Ardoin that:
26           1.      Defendants had been unaware Gallo intended to depose Mr. Anderssen on February 17,
27                   2005;
28           2.      The February 17, 2005 mediation required “the client to be in San Francisco to

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 1                        prepare”;
 2                 3.     Defendants did not believe they were properly served with notice of Mr. Anderssen’s
 3                        February 17, 2005 deposition and would not attend it; and
 4                 4.     Defendants would object to use of Mr. Anderssen’s February 17, 2005 deposition.
 5    Defendants further note that since Mr. Anderssen asserted Fifth Amendment rights at his April 6, 2005
 6    deposition, it “cannot have a significant bearing on the outcome of this litigation.”
 7                 The evidence reveals that Mr. Anderssen was subject to a valid subpoena and that Mr. Ardoin
 8    was prepared to produce Mr. Anderssen on February 17, 2005 until defense counsel contacted Mr.
 9    Ardoin. There is no dispute that Mr. Anderssen is a key witness as to Gallo’s claims, despite his
10    invocation of Fifth Amendment rights. Defense counsel impressed upon Mr. Ardoin, a new attorney,
11    that defendants had not been properly served with Mr. Anderssen’s February 17, 2005 deposition
12    notice. Defense counsel improperly raised an issue regarding e-mail service on Mr. Anderssen which
13    was clearly not an issue since he was a non-party subject to a subpoena and not subject to F.R.Civ.P.
14    5. Despite claiming he did not know whether F.R.Civ.P. 5 applied to Mr. Anderssen,18 defense counsel
15    led Mr. Ardoin on a path to raise an issue in Mr. Ardoin’s mind that F.R.Civ.P. 5 and related service
16    issues applied to Mr. Anderssen.
17                 Defense counsel did not stop there. According to Mr. Ardoin, defense counsel raised the
18    potential that successful mediation may avoid Mr. Anderssen’s deposition and his invocation of Fifth
19    Amendment rights. Mr. Ardoin acknowledged he felt pressured based on the timing of defense
20    counsel’s notice objections. Of key importance, Mr. Ardoin noted he would have produced Mr.
21    Anderssen on February 17, 2005 had he known defense counsel received the January 12 notice by e-
22    mail. Mr. Battaglia acknowledged that he was “advocating” his clients’ position to avoid Mr.
23    Anderssen’s February 17, 2005 deposition.
24                 Although defendants claim they did not control Mr. Anderssen, the evidence demonstrates, at
25    a minimum, that defense counsel influenced Mr. Ardoin not to produce Mr. Anderssen for his February
26    17, 2005 deposition. The evidence reveals that defense counsel and Mr. Ardoin were in close
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              18
                       This Court finds less than credible Mr. Battaglia’s assertion that he did not know whether F.R.Civ.P . 5
28   applied to non-parties.

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 1    communications on February 16, 2005 and that defense counsel guided Mr. Ardoin down a path of
 2    defense counsel’s choosing. In his declaration, Mr. Battaglia explains he communicated to Mr. Ardoin
 3    that Mr. Battaglia did not believe Gallo had properly noticed the February 17, 2005 deposition, that
 4    defendants “were not in a position to attend” a February 17 or 18, 2005 deposition, and that mediation
 5    would proceed on February 18, 2005 “to attempt to resolve the matter.” Defense counsel further
 6    indicated defendants would object to use of Mr. Anderssen’s February 17, 2005 deposition. To support
 7    his decision not to produce Mr. Anderssen, Mr. Ardoin’s February 16, 2005 communications parroted
 8    the service issues raised by defense counsel.
 9                Although defendants “did not demand or instruct Mr. Anderssen not to appear for a
10    deposition,” they influenced him through Mr. Ardoin to postpone his deposition and dangled the
11    prospects he need not testify if settlement were reached at mediation. Defendants’ threat to oppose
12    use of Mr. Anderssen’s February 17, 2005 deposition placed Mr. Ardoin in a predicament of a potential
13    second deposition of Mr. Anderssen. There is nothing to suggest Mr. Ardoin would not have produced
14    Mr. Anderssen for a February 17, 2005 deposition but for defense counsel’s interference. It bears
15    repeating that Mr. Ardoin testified he would have produced Mr. Anderssen had he known that defense
16    counsel received the January 12 notice by e-mail.
17                Of key concern to this Court is that defense counsel had several options other than influencing
18    Mr. Ardoin not to produce Mr. Anderssen. As noted by Gallo, defense counsel made no attempt to
19    reach Gallo’s counsel by telephone to address the matter.19 Defense counsel failed to exercise other
20    less drastic options, including to:
21                1.     File formal objections to Mr. Anderssen’s February 17, 2005 deposition, not attend the
22                       deposition, and file an appropriate post-deposition motion;
23                2.     File formal objections to Mr. Anderssen’s February 17, 2005 deposition, attend the
24                       deposition, and file an appropriate post-deposition motion;
25    ///
26    ///
27
             19
                      Although Mr. Maier briefly discussed Mr. Anderssen’s deposition with M r. Durbin an d M r. Pitre in
28   Houston, the evidence reveals Mr. Battaglia took the lead to address the issue.

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 1                 3.     Waive objections and attend the deposition given defense counsel knew Mr. Anderssen
 2                        would assert Fifth Amendment rights;20 or
 3                 4.     Apprise the Court of the issue and use this Court’s informal discovery dispute
 4                        resolution process to address the matter immediately.
 5    According to the evidence, defense counsel attempted to address an internal calendaring error and/or
 6    attempted to obtain a strategic advantage to avoid Mr. Anderssen’s deposition prior to the mediation.
 7    Despite motives, defense counsel did not act out of surprise or complete innocence. As this Court has
 8    noted, defense counsel are experienced and from a prominent law firm and clearly were aware of less
 9    drastic options.
10                 As such the question turns to whether interference with Mr. Anderssen’s deposition warrants
11    imposition of sanctions. This Court finds it does. The result of defense counsel’s interference was
12    to vex and to burden Gallo and this Court with significant discovery disputes and proceedings,
13    including three full court days for the evidentiary hearing. Defense counsel’s manipulation of the
14    events resulting in cancelling Mr. Anderssen’s February 17, 2005 deposition lacked justification based
15    on other available options and in turn thwarted Gallo’s legitimate discovery. The evidence reveals
16    defense counsel raised unmeritorious issues regarding service to dissuade Mr. Ardoin to produce Mr.
17    Anderssen. The evidence reflects willful action to avoid Mr. Anderssen’s February 17, 2005
18    deposition. Quite simply, defense counsel manipulated the late-hour events to achieve a desired result
19    – avoidance of Mr. Anderssen’s February 17, 2005 deposition prior to the first mediation session.
20                 The import of defense counsel’s conduct was to delay Mr. Anderssen’s deposition. Although
21    such conduct is warrants imposition of sanctions, it is not rise to the level of criminal in that defense
22    counsel’s position throughout was to conduct Mr. Anderssen’s deposition at a later date and which
23    occurred. Nonetheless, this Court’s Local Rule 83-180(e) obligates attorneys appearing in this Court
24    not to engage in conduct that “interferes with the administration of justice.” Defense counsel’s
25    interference with Mr. Anderssen’s February 17, 2005 deposition thwarted Gallo’s legitimate discovery
26
27            20
                        This Court finds less than credible M r. Battaglia’s notion that he did not know to which questions Mr.
     Anderssen would assert Fifth Ame ndm ent rights in that the evidence mad e clear M r. And erssen intended to assert suc h rights
28   to all substantive questions.

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 1    and in turn administration of justice.
 2                              Mr. Hernandez’ Communications With Ms. Henderson
 3                 In its original papers, Gallo claimed Mr. Hernandez informed LegaLink that Mr. Anderssen’s
 4    February 17, 2005 deposition was canceled. The issue regarding Mr. Hernandez’ purported conduct
 5    arises from Ms. Henderson’s apparent misunderstanding as to whom Mr. Hernandez and Mr. Maier
 6    represented. The evidence reveals that Ms. Henderson originally believed Mr. Hernandez and Mr.
 7    Maier represented a witness. Ms. Henderson recanted her original belief that Mr. Hernandez and Mr.
 8    Maier said they would not be producing a witness. The sheer weight of evidence is that Mr. Hernandez
 9    and Mr. Maier communicated that they would not attend a February 17, 2005 deposition and nothing
10    more of substance.
11                 In connection with communications with Ms. Henderson, Mr. Hernandez and Mr. Maier did
12    not obstruct Mr. Anderssen’s deposition and did not engage in gamesmanship, discovery abuses or
13    unprofessional conduct. Initially, Gallo had good reason to believe Mr. Hernandez or Mr. Maier had
14    indicated the witness would not be produced based on Ms. Henderson’s March 15, 2005 declaration.
15    Ms. Henderson’s March 17, 2005 e-mails reflect that she had backed off her assertion in that either she
16    initially spoke too quickly without grasping whom Mr. Hernandez and Mr. Maier represented or that
17    she was intimidated to retract her original belief. Gallo could reasonably conclude either possibility.
18                 Defendants fault Gallo for failing to confer with defense counsel prior to pursing Gallo’s
19    sanctions motion.21 Defendants point to this Court’s Local Rule 37-251(b) which imposes a conferring
20    requirement for discovery motions. Defendants ignore the rule’s prior subsection (a) which notes the
21    rule applies to motions pursuant to F.R.Civ.P. 26-37. Gallo seeks its relief outside the discovery rules
22    and thus was not technically required to confer. Defendants’ argument that Gallo seeks to bypass
23    F.R.Civ.P. 37 is unavailing in that Gallo’s motion does not address defendants’ failure to produce a
24    witness subject to court order.
25                 Nonetheless, the issue of Mr. Hernandez’ purported remarks apparently could have been
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                       This Court finds such accusation ironic in that defendants have failed to dem onstrate their co mpliance with
     conferring requirements in connection with p ast disco very disputes w hich defendants raised witho ut merit. Gallo claims that
28   further conferring would have been futile.

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 1    resolved in cool contemplation without a rush of emotion. Given the history of this action, this Court
 2    concludes that emotion unseated calm reflection as the parties have engaged in a death match of hubris
 3    and ego, leaving it to this Court to ferret out who is the more culpable. This Court is not impressed
 4    with Gallo’s accusations regarding Mr. Hernandez’ purported comments to Ms. Henderson and
 5    questions why Gallo continued to pursue aggressively the matter after Ms. Henderson’s recant of her
 6    original belief. However, the confusion over the issue alleviates Gallo of the heavy sanctions which
 7    defendants seek to impose.
 8                                               Sanctions Award
 9             This Court turns to the unsettling issue of sanctions imposition. Gallo seeks a laundry list of
10    sanctions, including striking defendants’ answer or responsive pleading, issue sanctions regarding Mr.
11    Anderssen’s conduct, evidentiary sanctions regarding Mr. Anderssen’s recorded telephone
12    conversations, and an award of legal expenses. The requested issue and evidentiary sanctions target
13    Mr. Anderssen’s assertion of the Fifth Amendment privilege. As such, a question arises whether Gallo
14    seeks to pounce on the circumstances to offset the effects of assertion of the Fifth Amendment
15    privilege and to gain advantage it would not otherwise have. Although Mr. Anderssen is an important
16    witness to Gallo and despite defense counsel’s wrongs, Gallo fails to substantiate heavy terminating,
17    issue and evidentiary sanctions when lesser sanctions will more appropriately address the wrongs at
18    issue.
19             In light of the past discovery abuses, the matter of Mr. Anderssen’s deposition compelled this
20    Court aggressively to supervise and review the conduct of counsel. This Court repeatedly warned
21    counsel to cease gamesmanship, discovery abuses and obstruction, demanded counsel to act
22    professionally, and admonished that this Court will conduct evidentiary hearings to address accusations
23    of discovery abuses and unprofessionalism. In addition to its orders compelling defendants further
24    discovery responses, production, etc., this Court sanctioned defendants and their counsel $9,750 prior
25    to the dispute over Mr. Anderssen’s deposition. With Gallo’s current sanctions motion pending, this
26    Court sanction defendants and their counsel another $1,250. Defense counsel blatantly ignored this
27    Court’s shots over the bow and repeated warnings which are detailed above and in Gallo’s papers.
28    Quite simply, defense counsel’s conduct regarding Mr. Anderssen’s deposition invited the evidentiary

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 1    hearing and ensuing devotion of expense and time to the parties and their counsel.
 2                 This Court finds a further monetary sanction against Gibson, Dunn & Crutcher is in order.
 3    Although tempted to single out individual attorney(s), this Court concludes that interference with Mr.
 4    Anderssen’s February 17, 2005 deposition is a product of a culture which permeates the portion of
 5    Gibson, Dunn & Crutcher involved in this matter. That culture promoted obstruction, gamesmanship
 6    and flagrant disregard of this Court’s orders to result in increased discovery abuses and to smear the
 7    legal profession and standards to which attorneys are to be held. Although Gallo seeks nearly
 8    $169,736.22 to reimburse its fees and costs to pursue its sanctions motion and to prepare for and to
 9    conduct the evidentiary hearing, Gallo fails to substantiate such a heavy sanction given the nature of
10    this dispute and its continued aggressive pursuit of dubious claims regarding Mr. Hernandez’ purported
11    comments to Ms. Henderson. This Court questions neither the accuracy of Gallo’s time devoted to this
12    matter nor the reasonableness of its billing rates and costs, especially given those of defendants.
13    However, this Court concludes that only half of Gallo’s time was reasonably and necessarily devoted
14    to the issues giving rise to this Court’s sanctions award. Accordingly, this Court imposes a
15    $102,078.97 sanction against Gibson, Dunn & Crutcher with $92,078.9722 to be paid to Gallo to defray
16    its fees and expenses to pursue its sanctions motion and $10,000 to this Court. The sanction payable
17    to this Court is pursuant to this Court’s inherent authority and responsibility to regulate its docket, to
18    promote judicial efficiency and to deter frivolous filings. Chambers, 501 U.S. at 50, 111 S.Ct. 2123.
19    This Court has inherent authority to end conduct which is abusive of the judicial process, and such
20    inherent power is not displaced by other statutory sanctioning power. Jones v. Bank of Sante Fe, 40
21    F.3d 1084, 1089 (10th Cir. 1994).
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                        This figure comprises half of Gallo’s requested fees ($77,657.25) plus its requested $1 4,421 .72 costs. This
25   figure is 37 percent o f the disco unted $25 0,00 0 sou ght by d efendants.

26                      Defense counsel claim their fees exceed $500 ,000 based on their customary rates. Using a defense partner-
     assoc iate averaged hourly billing rate of $3 00, d efense counsel would have d evo ted 1,667 hours to this matter ($500,000
27   divided by $3 00 averaged ho urly rate). If this Court discounted 1,667 hours by 75 percent (416.75 hours) and applied such
     discount to the $77,657.25 fees award, Gallo would be awarded fees at a $186 hourly rate ($77,657.25 divided by 416.75
28   hours). The $77,65 7.25 fees award is well within the lo w reasonable range.

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 1                                              CONCLUSION AND ORDER
 2                 For the reasons stated above, this Court ORDERS Gibson, Dunn & Crutcher, no later than
 3    August 5, 2005 and absent a stay of this order, to pay Gallo $92,078.97 and to pay this Court $10,000.23
 4    The check for the Court’s portion shall be payable to the Clerk, U.S. District Court and bear this
 5    actions’s case number. Gibson, Dunn & Crutcher shall notify this Court in writing that the respective
 6    sanctions have been submitted to Gallo and this Court’s clerk. The $102,078.97 sanctions are assessed
 7    against Gibson, Dunn & Crutcher, and not against defendants as clients. The sanctions are not to be
 8    passed onto defendants for payment in any form. This Court reminds Gibson, Dunn & Crutcher of its
 9    self-reporting obligation under California Business and Professions Code section 6068(o).
10                 IT IS SO ORDERED.
11    Dated:          July 5, 2005                              /s/ Lawrence J. O'Neill
      66h44d                                              UNITED STATES MAGISTRATE JUDGE
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                      This Court is authorized to impo se a sanction pa yable to the Co urt. See Resolution Trust Corp. v. Dabney,
28   73 F.3d 262, 267 (10 th Cir. 1995).

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